Case 2:15-cv-01045-RFB-BNW   Document 948-122   Filed 12/22/23   Page 1 of 26




                EXHIBIT 121
                     -
           REDACTED VERSION OF
               ECF NO. 596-34
       Case 2:15-cv-01045-RFB-BNW   Document 948-122   Filed 12/22/23   Page 2 of 26




                           Exhibit 32
          Deposition of Dana F. White (August 9,
                2017) – Vol. 2 (excerpted)




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       Case 2:15-cv-01045-RFB-BNW    Document 948-122    Filed 12/22/23   Page 3 of 26


                                                                                         280
                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF NEVADA



                   CUNG LE; NATHAN QUARRY, JON   )
                   FITCH, on behalf of           )
                   themselves and all others     )
                   similarly situated,           )
                                                 )
                             Plaintiffs,         )
                                                 )
                             vs.                 )       Case No.
                                                 )       2:15-cv-01045-RFB-(PAL)
                                                 )
                   ZUFFA, LLC, d/b/a Ultimate    )
                   Fighting Championship and     )
                   UFC,                          )
                                                 )
                             Defendant.          )
                   ______________________________)




                                     HIGHLY CONFIDENTIAL

                        VIDEOTAPED DEPOSITION OF DANA F. WHITE

                            AFTERNOON AND EVENING SESSIONS

                                     LAS VEGAS, NEVADA

                                       AUGUST 9, 2017

                                          4:01 P.M.



               REPORTED BY:
               MICHELLE R. FERREYRA, CCR No. 876
               JOB NO. 51036-B




FILED UNDER SEAL
       Case 2:15-cv-01045-RFB-BNW                        Document 948-122                       Filed 12/22/23                Page 4 of 26

                                                                                  285                                                                 287
             1                                                                           1
             2            I N D E X (Continued)
             3   Exhibit 79 Dana White, Wanderlei Silva       358                        2      LAS VEGAS, NEVADA, WEDNESDAY, AUGUST 9, 2017;
                        was paid $9 7 by the UFC, by                                     3                 4:01 P.M.
             4          Nate Wilcox, September 27, 2014
             5   Exhibit 80 Portuguese article from Globo     360                        4                   -O0O-
             6   Exhibit 81 Video excerpt from            361
                                                                                         5
                        September 11, 2013 from UFC
             7          Tonight Interview                                                6         VIDEOGRAPHER: The time is approximately
             8   Exhibit 82 Excel spreadsheet            363
             9   Exhibit 83 News article from the         394                            7   4:01 p.m. Let the record reflect Michelle Ferreyra is
                        Las Vegas Sun                                                    8   now the court reporter. We are back on the record.
            10
                 Exhibit 84 MMA Junkie article            403                            9             (Exhibit 61 marked.)
            11
                 Exhibit 85 Two-page article dated       405
                                                                                        10
            12          June 10, 2012 from Damen Martin                                 11                 EXAMINATION
            13   Exhibit 86 July 2, 2013 video from      406
                        UFC 162 Post-fight Scrum in                                     12   BY MR. DELL'ANGELO:
            14          Las Vegas, Nevada                                               13      Q. Mr. White, I'm going to hand you what I have
            15   Exhibit 87 Excerpt from April 16, 2014    408
                        Tough Nation's Finale Post-fight                                14   marked as Exhibit 61 to the deposition. Exhibit 61 is
            16          Media Scrum in Quebec City,
                        Quebec, Canada                                                  15   from FoxSports dated December 12, 2013 by Damen Martin.
            17                                                                          16   Before we took our break, we were talking about
                 Exhibit 88 Video excerpt dated May 11, 2014    410
            18          UFC Fight Night 40, Post-fight                                  17   Invicta. Do you recall that?
                        Scrum in Cincinnati, Ohio                                       18      A. Yes.
            19
                 Exhibit 89 Excerpt from February 19, 2015      412                     19      Q. Okay. You're quoted at the bottom here
            20          from the gathering at
                        Banff, Canada                                                   20   as -- do you see that quote, that it's in kind of a
            21                                                                          21   larger font there --
                 Exhibit 90 Video excerpt from           413
            22          February 2, 2010 from UFC 108                                   22      A. Yes.
                        Post-fight Media Scrum in                                       23      Q. -- okay, at the bottom? And it says, "The
            23          Las Vegas
            24   Exhibit 91 Video excerpt from September 21,    417                     24   girls who go into Invicta can now look and say, Jesus,
                        2011 taken from the UFC 135
            25          Pre-fight Scrum in Denver, Colorado                             25   we're going it fight in the UFC some day." Do you see

                                                                                  286                                                                 288
             1                                                                           1          DANA WHITE - HIGHLY CONFIDENTIAL
             2              I N D E X (Continued)                                        2   that?
             3     Exhibit 92 Article taken from TMZ from                   421
                          March 6, 2017                                                  3      A. Yes.
             4                                                                           4      Q. Did you say that?
                   Exhibit 93 Article from MMA Junkie,                      423          5      A. I don't remember saying it, but, yeah. I'm
             5
                                                                                         6   sure I did.
                   Exhibit 94 Two-page e-mail series,                  442
             6            WME_ZUFFA_001417791                                            7      Q. Okay. Any reason to believe that that's not
             7     Exhibit 95 Video excerpt from                      448                8   accurate, that statement?
                          March 14, 2014 from the                                        9      A. No.
             8            UFC 171 Pre-fight Scrum in
                          Dallas, Texas
                                                                                        10      Q. Okay. And what is that? What do you take
             9                                                                          11   that to mean, that statement?
                   Exhibit 96 Video Excerpt from                      451               12      A. It means that I -- I was the guy that said
            10            April 16, 2014 Tough Nation                                   13   women would never fight in the UFC. And when
                          Finale Post-fight Scrum in
            11            Quebec City, Canada                                           14   women -- you know, when I did decide to do it, it
            12                                                                          15   be -- it was huge. It became very big. And, you know,
            13                                                                          16   I'm sure a lot of these women that were in this
            14
            15
                                                                                        17   division thought they would never fight in the UFC.
            16                                                                          18      Q. So it's a big deal to get -- have female
            17                                                                          19   fighters in the UFC?
            18                                                                          20      A. It became a big deal, yeah.
            19
            20                                                                          21      Q. And it's certainly a big deal for the female
            21                                                                          22   fighters as well; right?
            22                                                                          23      A. Absolutely.
            23
            24
                                                                                        24      Q. Okay. And -- and that became an important
            25                                                                          25   part of your business, the UFC's business?

                                                                                                                    3 (Pages 285 to 288)
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       Case 2:15-cv-01045-RFB-BNW                Document 948-122               Filed 12/22/23          Page 5 of 26

                                                                  289                                                         291
             1          DANA WHITE - HIGHLY CONFIDENTIAL                  1          DANA WHITE - HIGHLY CONFIDENTIAL
             2       A. Correct.                                          2   litigation. I'm marking them as Exhibit 62.
             3       Q. It actually it lead to the rise of champions      3               (Exhibit 62 marked.)
             4   like Rhonda Rousey; right?                               4   BY MR. DELL'ANGELO:
             5       A. Yeah.                                             5       Q. Exhibit 62 begins with 2699687.
             6       Q. And she became a big star; right?                 6       A. I'm sorry, 62?
             7       A. Huge star.                                        7       Q. Yes.
             8       Q. Okay. So would you flip to the second page        8       A. Oh, no. No page.
             9   of the document, please, at the top. You appear to be    9       Q. I'm just identifying the exhibit number --
            10   quoted again. Do you see that at the beginning of Bad 10         A. Okay.
            11   As? Do you see that language?                           11       Q. -- for the record, Mr. White. And I -- I
            12       A. Yes.                                             12   will tell you that it's my understanding that the
            13       Q. But would you first read -- read that first      13   compilation of text messages at Exhibit 62 were taken
            14   sentence there aloud?                                   14   from your -- one of your devices, Mr. White.
            15       A. Aloud?                                           15       A. Okay.
            16       Q. Yeah.                                            16       Q. So would you turn to page 78 of Exhibit 62,
            17       A. "As bad as people don't want to believe it,      17   line 1600.
            18   they don't want to hear it, meaning the other owners of 18       A. Tell me the page again.
            19   other mixed martial arts organizations, that's why they 19       Q. 7-8, 78.
            20   are -- that's why they all are -- they all are the AAA  20       A. Okay.
            21   to the UFC."                                            21       Q. Are you at page 78?
            22       Q. Okay. Any reason to believe that you did not 22           A. Yeah.
            23   say that in December of 2013?                           23       Q. Okay. And would you go to line 1600, please.
            24       A. No.                                              24       A. Yes.
            25       Q. Okay. And you believed that to be true at        25       Q. And see in that first text message dated
                                                                  290                                                         292
             1          DANA WHITE - HIGHLY CONFIDENTIAL                  1         DANA WHITE - HIGHLY CONFIDENTIAL
             2   that time?                                               2   May 13, 2015? Do you see that?
             3       A. I believe it to be true today.                    3      A. Yes.
             4       Q. Okay. And would that include World Series of      4      Q. And that refers to Jessica Aguilar. Do you
             5   Fighting?                                                5   see that?
             6       A. Yes.                                              6      A. Yes.
             7       Q. Okay. And the -- the World Series of              7      Q. Okay. And Jessica Aguilar was eventually
             8   Fighting hasn't promoted any events in the               8   released to the UFC; right?
             9   United States; right?                                    9      A. Okay, yeah.
            10       A. Yes.                                             10      Q. Okay. And if you look at the last text
            11       Q. Oh, I'm sorry.                                   11   message, it wrote 1671. It's saying that -- the text
            12       A. They're from the United States.                  12   message says: "We're going to release Jessica only to
            13       Q. Withdraw that. I was thinking of something       13   you guys, and we don't want any money." Do you see
            14   different. Thank you.                                   14   that?
            15       A. They're -- they're actually from Vegas.          15      A. I didn't see that one. Where's that one?
            16       Q. Yeah.                                            16      Q. Line 1671. I think you need to get -- sorry.
            17          The World Series of Fighting has released        17   That's on page 81; so you need to keep flipping. So
            18   some of its fighters to the UFC; right?                 18   are you on line 1671 of page 78?
            19       A. Yes. We have signed guys from their              19      A. Yes.
            20   organization?                                           20      Q. Okay. Do you see --
            21       Q. What about Jessica Aguilar, she was released     21      A. "We're going to release Jessica only to you
            22   to the UFC; right?                                      22   guys, and we don't want any money."
            23       A. I don't know.                                    23      Q. Right. And so was Jessica Aguilar eventually
            24       Q. Okay. Mr. White, let me hand you another         24   released to the UFC from World Series of Fighting?
            25   compilation of text messages that were produced in this 25      A. Yes.

                                                                                              4 (Pages 289 to 292)
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       Case 2:15-cv-01045-RFB-BNW                 Document 948-122                Filed 12/22/23              Page 6 of 26

                                                                   293                                                                295
             1         DANA WHITE - HIGHLY CONFIDENTIAL                     1           DANA WHITE - HIGHLY CONFIDENTIAL
             2      Q. Okay. And did UFC pay World Series of                2   BY MR. DELL'ANGELO:
             3   Fighting any money for releasing Jessica Aguilar to the    3       Q. This is taken from an August 23, 2014 UFC
             4   UFC?                                                       4   Fight Night 48 Post-Night Scrum in Macau, China. So if
             5      A. That -- that I don't know.                           5   you would direct your attention to the video screen.
             6      Q. And do you know who Aliyah Delageez is?              6           MR. ISAACSON: I will object to the use of
             7      A. Yeah.                                                7   this video in questions on the basis of completeness.
             8      Q. And that's Ms. Aguilar's fighter agent or            8              (Video clip playing.)
             9   manager; is that right?                                    9           REPORTER: One more thing. There's a couple
            10      A. Yes.                                                10   of ONE FC. You got RUFF, a little tiny one, but
            11      Q. Okay. You can put that document aside.              11   they're doing good work. And a couple others, Kunlun
            12   Thank you.                                                12   and some others. A lot of times, UFC has bought out
            13         Are you aware of a fight promotion by the           13   their competitors, and it really helped out and did a
            14   name of ONE FC?                                           14   lot, like Strikeforce. Do you guys have plans like
            15      A. It -- just so you know, so when he says we're       15   that? Is that how you think over there?
            16   not going to -- you don't have to pay us any money, she   16           MR. DANA WHITE: No. You know, to have -- to
            17   gets paid to fight. That's not she's fighting for         17   have grassroots companies like that is great for us.
            18   free.                                                     18   You have to have it. I mean, we -- we need
            19      Q. I understand that.                                  19   organizations like that around for the guys to get
            20      A. Okay.                                               20   experience, get fights under their belt, make some
            21      Q. What I was trying to -- to determine is that        21   money, and -- and -- and start to consider making this
            22   the UFC wasn't paying World Series of Fighting any        22   a career. So having small organizations out there is a
            23   money for the -- World Series of Fighting releasing       23   great thing. It's not a -- you know, I love it.
            24   Ms. Aguilar to the UFC?                                   24   BY MR. DELL'ANGELO:
            25      A. Right.                                              25      Q. So, Mr. White, in August --

                                                                   294                                                                296
             1          DANA WHITE - HIGHLY CONFIDENTIAL                    1          DANA WHITE - HIGHLY CONFIDENTIAL
             2       Q. So Ms. Aguilar -- Ms. Aguilar still gets paid       2          MR. ISAACSON: I am just going to raise an
             3   to fight --                                                3   objection, that because parts of that were hard to hear
             4       A. We -- we --                                         4   I don't think the court reporter's able to create a
             5       Q. -- but you didn't get a payment to World            5   transcript of it. So --
             6   Series of Fighting?                                        6   BY MR. DELL'ANGELO:
             7       A. We don't know. Yeah. It's weird that he             7     Q. Mr. White, in August of 2014, did you view
             8   said that. I don't even know what that means.              8   ONE FC as a -- as a grassroots promotion?
             9       Q. Right. Did you understand that Ms. Aguilar          9     A. Yes.
            10   was under contract with World Series Of Fighting at       10       Q. Okay. And but you, nevertheless, thought
            11   that time?                                                11   that having a smaller promotion, like ONE FC out there
            12       A. Yes. But guys and girls that we acquire all        12   at the time, was a -- was a good thing for the UFC;
            13   are, unless their contract is up. But that's normal.      13   right?
            14       Q. So are you familiar with a fight promotion         14       A. I will tell you what -- I will tell you what
            15   ONE FC?                                                   15   drives me crazy, what cracks me up, is we're trying to
            16       A. Yes.                                               16   get into Asia; so we have been working on Asia for a
            17       Q. Okay.                                              17   long time. And every time I do interviews over there,
            18       A. Very familiar.                                     18   they say, "Are you guys like ONE FC? Is that what you
            19       Q. Is it correct that ONE FC only promotes MMA        19   are." Yeah. Yeah. So it's owned by a billionaire.
            20   bouts in Asia?                                            20   And every time I do interviews in Asia, they ask if the
            21       A. Yes.                                               21   UFC is like ONE FC. What are you guys, like ONE FC?
            22       Q. Okay. And when did you -- well, let's -- I'm       22   Yeah, no. We're like the UFC, but yeah. They're not a
            23   going to play another video excerpt for you.              23   minor grassroots organization. They're a monster.
            24               (Exhibit 63 marked.)                          24      Q. In Asia?
            25   \\                                                        25      A. Yeah.

                                                                                                  5 (Pages 293 to 296)
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       Case 2:15-cv-01045-RFB-BNW                 Document 948-122                 Filed 12/22/23               Page 7 of 26

                                                                   297                                                                  299
             1          DANA WHITE - HIGHLY CONFIDENTIAL                    1         DANA WHITE - HIGHLY CONFIDENTIAL
             2       Q. And they don't promote events in the                2      A. No.
             3   United States; right?                                      3      Q. If in 2012, the UFC -- sorry.
             4       A. No. Nobody knows what the UFC is in Asia.           4         If in 2012, Bellator would have removed
             5   They all know ONE FC.                                      5   matching rights provisions in its contracts, would the
             6       Q. What's your basis for saying that? Have you         6   UFC have done the same?
             7   spoken to everybody in Asia?                               7      A. Probably not, no.
             8       A. Pretty much. Everybody that you can do an           8      Q. All right. So I'm going to play another
             9   interview with, yes. Everybody that you can do an          9   video for you, Mr. White. This is an excerpt taken
            10   inter with -- interview with that's worth doing an        10   from a January 10, 2013 -- let me withdraw that.
            11   interview with in Asia always asks me if we're like the   11         This is an excerpt taken from the
            12   ONE FC.                                                   12   January 2013 interview with MiddleEasy.com. Let me
            13       Q. You promote events in Asia; right?                 13   direct your attention to the video screen.
            14       A. Yes.                                               14         MR. ISAACSON: I don't think you have given
            15       Q. Okay. And would you promote events in Asia         15   us a number.
            16   if nobody knew who UFC is?                                16         MR. DELL'ANGELO: Sorry. It's -- we will
            17       A. Nobody does know who UFC is. I'm working on        17   mark it as Exhibit 64.
            18   that.                                                     18              (Exhibit 64 marked.)
            19       Q. Okay. But you -- so you, nevertheless,             19         MR. ISAACSON: All right. And because it's
            20   continue to promote events there; right?                  20   an excerpt, I will object to questions on this on the
            21       A. We do continue. Because I'm going to               21   grounds of completeness.
            22   continue until they know what the UFC is.                 22             (Video clip playing.)
            23       Q. All right. So Bellator is also an MMA              23         MR. DANA WHITE: You see the thing, the
            24   promotion in the United States; right?                    24   Bellator thing, I have never said a bad word about
            25       A. Yes.                                               25   them, ever. They're a smaller organization that's out

                                                                   298                                                                  300
             1         DANA WHITE - HIGHLY CONFIDENTIAL                  1             DANA WHITE - HIGHLY CONFIDENTIAL
             2      Q. Okay. Let me show you --                          2      there. You know, we need smaller promotions.
             3         MR. DELL'ANGELO: 93, please.                      3      It's -- it's not a bad thing.
             4   BY MR. DELL'ANGELO:                                     4      BY MR. DELL'ANGELO:
             5      Q. Do you recall a time -- well, let's just back     5         Q. Okay. In January of 2013, Mr. White, did you
             6   up.                                                     6      believe that Bellator was a smaller organization?
             7         There was a time when Bjorn Rebney ran            7         A. Yes.
             8   Bellator; right?                                        8         Q. And were you able to -- to hear the audio on
             9      A. Bjork, yes.                                       9      that video?
            10      Q. Okay. Did you say Bjork?                         10         A. Yes.
            11      A. Yes.                                             11         Q. Okay. Do you -- did you -- is that you
            12      Q. Is that -- is that a pejorative or is that       12      appearing in that video?
            13   his name? Do I have it wrong?                          13        A. That is me.
            14      A. That's what I like to call him.                  14         Q. Okay. You -- you said that, what you heard
            15      Q. So just for the -- for the purposes of our       15      there?
            16   testimony, I'm going to refer to him as Mr. Rebney. 16            A. Yes.
            17   Okay?                                                  17         Q. Did you have any trouble hearing it?
            18      A. Okay.                                            18         A. That's me, yes.
            19      Q. Okay. You can refer to him as Bjork if you       19         Q. Okay. All right. I'm going to play you
            20   wish. I'll understand that Bjork means Mr. Rebney. 20          another video excerpt from a February 1, 2013 UFC 156
            21      A. Got it.                                          21      Pre-fight Scrum in Las Vegas, Nevada, which I will mark
            22      Q. Okay. Do you recall a time when you were         22      as Exhibit 65. Mr. White, if you could direct your
            23   told that Mr. Rebney was prepared to get rid of        23      attention to the video screen and watch this excerpt,
            24   matching rights provisions in its contracts if the UFC 24      please.
            25   would do the same?                                     25                  (Exhibit 65 marked.)

                                                                                                      6 (Pages 297 to 300)
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       Case 2:15-cv-01045-RFB-BNW                 Document 948-122                Filed 12/22/23            Page 8 of 26

                                                                   301                                                                 303
             1           DANA WHITE - HIGHLY CONFIDENTIAL                   1          DANA WHITE - HIGHLY CONFIDENTIAL
             2           MR. ISAACSON: I will object to questions           2   right? Philippe Dauman said he built the UFC.
             3   based on this video on the grounds of completeness.        3   Philippe Dauman is the pompous, arrogant guy who runs
             4              (Video clip playing.)                           4   Viacom who claims he built the UFC. Well, whatever you
             5           MR. DANA WHITE: It's like Dave Meltzer             5   did building the UFC, brother, you better start doing
             6   writes that story, right? The fight's in Southern          6   it again because things aren't looking good over there.
             7   California, $750,000 in ticket sales, we still got four    7   BY MR. DELL'ANGELO:
             8   or five fights before that fight, have not started         8      Q. Okay. So, Mr. White, was that you in the
             9   promoting that fight yet, 750.                             9   video that we just saw at Exhibit 66?
            10           Now, Bellator comes out, right, and they do       10      A. Yes.
            11   their first show. And everybody's going -- pasting        11     Q. Okay. Were you able to hear that okay?
            12   Spike's press release all over the fucking place.         12     A. Yes.
            13   "It's a home run. This fucking thing was awesome. He      13     Q. Okay. And did you -- did you say what
            14   did this." They sold 2400 fucking tickets in Southern     14   was -- what you heard in the video there?
            15   California. If that's a fucking home run, holy shit.      15     A. Yes.
            16   What did I hit at 750,000? They sold 2400 tickets, and    16      Q. Okay. And were -- were you referring in part
            17   I'm reading around about what a home run that event       17   to Bellator in that video?
            18   was. Are you fucking shittin' me?                         18      A. Yes.
            19   BY MR. DELL'ANGELO:                                       19       Q. Okay. And were you suggesting that, you
            20       Q. Mr. White, was that you in video excerpt           20   know, Bellator and Viacom better start doing something
            21   marked as Exhibit 65 that you just saw there?             21   to improve Bellator's performance?
            22       A. Yes.                                               22       A. I'm suggesting that they're very bad at what
            23       Q. Okay. And did you say that --                      23   they do, yes.
            24       A. Yes.                                               24      Q. Okay. So would you go back to Exhibit 11
            25       Q. -- what you heard there?                           25   that was the text compilation from Mr. Fertitta that

                                                                   302                                                                 304
             1        DANA WHITE - HIGHLY CONFIDENTIAL                    1           DANA WHITE - HIGHLY CONFIDENTIAL
             2     A. Yeah.                                               2     was produced in the litigation we have now looked at
             3      Q. Okay. Is it fair to say that in February of        3     several times today. Let me know when you have that.
             4   2013, you were not impressed with Bellator's             4        A. I have it.
             5   performance as an MMA promotion?                         5        Q. Great. Would you turn to page 38, please.
             6      A. You can say that.                                  6        A. (Witness complies.)
             7      Q. Okay. All right. That's -- that's a yes?           7        Q. Let me know when you get to page 38,
             8      A. Yes.                                               8     Mr. White.
             9      Q. All right. And let me play you another             9        A. I'm on 38.
            10   excerpt from February 16, 2013 taken in London, England 10        Q. Okay. Great.
            11   at UFC FUEL TV 7 Post-fight Media Scrum.                11           Would you direct your attention to rows 804
            12      A. Okay.                                             12     through 810 on page 38 of Exhibit 11.
            13          MR. ISAACSON: I will object to the use of        13        A. Yeah.
            14   the video on the grounds -- as to questions on the      14        Q. Do you see the first text there is from Joe
            15   grounds of completeness.                                15     Silva in a group text, including you at your 75 number?
            16              (Exhibit 66 marked.)                         16        A. Yes.
            17             (Video clip playing.)                         17        Q. Okay. And Mr. Silva appears to be -- this is
            18          REPORTER: Are you not worried they might be      18     a January -- sorry, a July 31, 2013 text message?
            19   able to use -- leverage all of those resources to       19        A. Yes.
            20   help -- you know, to rival you guys.                    20        Q. Okay. And Mr. Silva is referring to Tito
            21          MR. DANA WHITE: They better start. They're       21     versus Rampage. Do you see that?
            22   doing fucking 700,000 viewers, and the numbers are      22        A. Yes.
            23   dropping like fucking flies. They better start          23        Q. Okay. And was that a fight that was promoted
            24   leveraging something quick.                             24     by Bellator?
            25          But they built the UFC. You know that,           25        A. I don't think they ever fought. But, yeah,

                                                                                                  7 (Pages 301 to 304)
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FILED UNDER SEAL
       Case 2:15-cv-01045-RFB-BNW                 Document 948-122              Filed 12/22/23           Page 9 of 26

                                                                  305                                                           307
             1          DANA WHITE - HIGHLY CONFIDENTIAL                 1          DANA WHITE - HIGHLY CONFIDENTIAL
             2   they're with Bellator.                                  2       A. Yes.
             3      Q. Okay.                                             3       Q. Okay. And Mr. Fertitta writes, "I thought
             4      A. I don't think they ever fought.                   4    they don't take UFC castoffs." Do you see that?
             5      Q. And in 2013 -- well, back up.                     5       A. Yes.
             6          Tito, do you understand that to refer Tito       6       Q. Okay. What did you understand Mr. Fertitta
             7   Ortiz?                                                  7    to be saying there?
             8      A. Yes.                                              8       A. That Bellator had come out and said, "We
             9      Q. Okay. And he formally fought with the UFC;        9    won't take UFC castoffs."
            10   right?                                                 10       Q. All right. And -- but nevertheless, UFC
            11      A. Correct.                                         11    viewed Mr. Ortiz and Mr. Jackson as essentially
            12      Q. Okay. And he's not with the UFC any more;        12    castoffs?
            13   right?                                                 13       A. That's -- that's Scott Coker's MO. Scott
            14      A. Yes.                                             14    Coker doesn't build anybody, right? He doesn't turn
            15      Q. And Rampage, does that refer to Quinton          15    anybody into stars. He just takes old names and
            16   Rampage Jackson?                                       16    recycles them. He's a -- he -- he's a very, very bad
            17      A. Yes.                                             17    promoter.
            18      Q. Okay. And I think he was one of the fighters     18       Q. Okay.
            19   that you testified earlier this morning the UFC had    19       A. Very bad at what he does.
            20   acquired from Strikeforce.                             20       Q. All right. And that's a -- that's -- you're
            21      A. Correct?                                         21    saying that -- I just want to understand you. Because
            22      Q. Do you recall that?                              22    Mr. Coker's been in several different promotions;
            23          Okay. And --                                    23    right?
            24      A. No WFA.                                          24       A. Right.
            25      Q. WFA. Thank you. You are right.                   25       Q. Okay.
                                                                  306                                                           308
             1        DANA WHITE - HIGHLY CONFIDENTIAL                    1          DANA WHITE - HIGHLY CONFIDENTIAL
             2        So at this time in 2013, Quinton Rampage            2      A. All failures.
             3   Jackson was no longer fighting for the UFC; right?       3      Q. Right. Is it your -- not withstanding the
             4      A. Right.                                             4   fact that the UFC got some -- I think as you testified
             5      Q. And if you look down a few more lines at           5   earlier, some really great fighters from Mr. Coker's
             6   row 806, Mr. Silva indicates that -- he says, "Two guys  6   Strikeforce promotion; right?
             7   who both lost their last three UFC fights." Right?       7      A. That we turned into stars. When you have
             8      A. Right.                                             8   Rhonda Rousey and you can't turn her into a star, you
             9      Q. Is that consistent with your recollection,         9   should probably go open a restaurant or something.
            10   that Mr. Ortiz and Mr. Jackson both lost their last UFC 10      Q. And so -- and so is it your testimony that at
            11   fights?                                                 11   Bellator, Mr. Coker is continuing to essentially
            12      A. I don't know the exact numbers --                 12   recycle has-been fighters? Is that --
            13      Q. Okay.                                             13      A. Well, no. He -- he recycles big names.
            14      A. -- but makes sense.                               14      Q. Right.
            15      Q. They -- they were ultimately at this time not     15      A. That's what he does. Rampage Jackson is a
            16   with the UFC because they were not performing well as 16     huge name. Tito Ortiz is a huge name. And -- and
            17   fighters; correct?                                      17   basically, he re -- you know, takes guys with big names
            18      A. Correct.                                          18   and puts on fights with them instead of turning guys
            19      Q. Okay. And in the last line there at row 810,      19   into stars, even when he has a roster packed with
            20   do you see that?                                        20   stars, and one of them include Rhonda Rousey.
            21      A. Yep.                                              21      Q. Well, Rhonda Rousey wasn't a star at the time
            22      Q. And there's a text from the number ending in      22   that she was fighting under contract with Strikeforce;
            23   97. I will represent to you that that's Mr. Fertitta's  23   right?
            24   phone number. Do you see you're part of the group text 24       A. Till I turned her into a star.
            25   at your 75 number; right?                               25      Q. Right. But the point is, she wasn't a star

                                                                                               8 (Pages 305 to 308)
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      Case 2:15-cv-01045-RFB-BNW                 Document 948-122                Filed 12/22/23                 Page 10 of 26

                                                                   309                                                                 311
             1         DANA WHITE - HIGHLY CONFIDENTIAL                   1           DANA WHITE - HIGHLY CONFIDENTIAL
             2   at Strikeforce; correct?                                 2           MR. ISAACSON: I will object to the use of
             3      A. Yeah, no.                                          3    the video in questions on the grounds of completeness.
             4       Q. Okay. So -- and at this time in 2013 --           4    BY MR. DELL'ANGELO:
             5       A. A just for the record, I turned her into a        5       Q. Were you able to see the video at Exhibit 67,
             6   star immediately when she got to the UFC --              6    Mr. White?
             7       Q. Okay.                                             7       A. Yes.
             8       A. -- her first fight.                               8       Q. And were you able to hear it okay?
             9          MR. DELL'ANGELO: Move to strike as                9       A. Yes.
            10   nonresponsive.                                          10       Q. Okay. And did you say that, what you heard
            11          THE WITNESS: Yeah.                               11    in the video?
            12          MR. DELL'ANGELO: There's no question             12       A. Yes.
            13   pending.                                                13       Q. Okay. And did they -- to whom you were
            14          THE WITNESS: All right.                          14    referring in the video, was that Bellator?
            15   BY MR. DELL'ANGELO:                                     15       A. Yes.
            16       Q. So in 2013 -- in mid-2013, Tito Ortiz and        16       Q. Okay. And in the -- in your statement there,
            17   Rampage Jackson were effectively UFC has-beens; is that 17    you said, "We really don't take their rejects." Did
            18   right?                                                  18    you hear that part?
            19       A. If -- if that's the way you want to look at      19       A. Yes.
            20   it, yeah. They were guys -- they were guys who lost     20       Q. Okay. What did you mean by that?
            21   three fights in a row in the UFC.                       21       A. Well, I -- I just said it. I said, "If -- if
            22       Q. Right. But they were -- they were not really     22    somebody loses, we're not going to bring them to the
            23   UFC kind of level fighters any more; right?             23    UFC." But Eddie Alvarez wasn't undefeated either.
            24       A. According to me, yeah. And according to Joe      24       Q. But -- but the -- the larger point is that if
            25   Silva, yes.                                             25    somebody loses in Bellator, it's not someone -- that's
                                                                   310                                                                 312
             1          DANA WHITE - HIGHLY CONFIDENTIAL                   1           DANA WHITE - HIGHLY CONFIDENTIAL
             2      Q. Okay. In fact, if you -- and likewise, UFC          2   not -- that's a fighter that UFC is not interested in
             3   doesn't take rejects from Bellator; right?                3   signing; right?
             4      A. We have taken guys from Bellator.                   4      A. Right. So if he had lost the fight, we're
             5      Q. I'm asking if you have taken rejects from           5   not signing somebody straight off a loss. Yes.
             6   Bellator?                                                 6      Q. In fact, he would have to win a number of
             7      A. Define reject.                                      7   fights, or she as the case may be, in another promotion
             8      Q. So let's -- let me play a video clip for you        8   before UFC would be willing to --
             9   from August 22, 2013 from the UFC Fight Night 27          9      A. Exactly.
            10   Post-fight Scrum in Indianapolis, Indiana. This would    10      Q. -- sign them; correct?
            11   be Exhibit 67.                                           11      A. That -- yeah. That is the standard that we
            12               (Exhibit 67 marked.)                         12   have set for our organization.
            13             (Video clip playing.)                          13      Q. Okay. Let's look at -- I'm going to mark
            14          MR. DANA WHITE: You want to go, go. If you        14   another video for you. It's taken from -- it's an
            15   don't want to be here, why would we want you here. And   15   excerpt taken from a September 29, 2013 UFC 168 Media
            16   then what are they doing if Eddie Alvarez loses, what    16   Scrum in Rio de Janeiro, Brazil, which we will mark as
            17   do they think? He's going to come and sign a deal with   17   Exhibit 68.
            18   the UFC? No. We actually -- we really don't take         18              (Exhibit 68 marked.)
            19   their rejects. We really don't.                          19           MR. ISAACSON: This is September 29th what
            20          REPORTER: You wouldn't take him?                  20   year?
            21          MR. DANA WHITE: No. If Eddie loses -- if          21           MR. DELL'ANGELO: 2013.
            22   Eddie loses, why would we bring him to the UFC?          22             (Video clip playing.)
            23   BY MR. DELL'ANGELO:                                      23           REPORTER: Is there any chance like the UFC
            24      Q. Okay. Were you able to see the video at            24   ends up buying Bellator in a couple of years?
            25   Exhibit 67, Mr. White?                                   25           MR. DANA WHITE: There's nothing there.

                                                                                                   9 (Pages 309 to 312)
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      Case 2:15-cv-01045-RFB-BNW                 Document 948-122                 Filed 12/22/23              Page 11 of 26

                                                                   313                                                                 315
             1           DANA WHITE - HIGHLY CONFIDENTIAL                 1           DANA WHITE - HIGHLY CONFIDENTIAL
             2   There's nothing there that -- if you look at any of the  2           MR. KOFFMAN: Do you want me to turn up the
             3   companies that we ended up buying in the past, there     3     volume?
             4   was value. There's no value to that company              4           MR. DELL'ANGELO: Yeah. Let's do that.
             5   whatsoever.                                              5              (Video clip playing.)
             6           If you look at Pride, look at all the            6           REPORTER: Is there any chance like the UFC
             7   contracts we got from Pride and all the guys that came   7     ends up buying Bellator?
             8   over and the big fights we made. Look at the Pride       8           MR. DANA WHITE: There's nothing there.
             9   library. Amazing library with some of the most           9     There's nothing there that -- if you look at any of the
            10   talented fighters of all times.                         10     companies that we ended up buying in the past, there
            11           When we bought the WFA, we bought them          11     was value. There's no value --
            12   because Rampage had a contract with them; so we bought 12      BY MR. DELL'ANGELO:
            13   his contract. When we bought Strikeforce, we bought     13        Q. Okay. Were -- were you able to hear that
            14   their library, and we ended up getting -- I mean, just  14     clear?
            15   the fights we had with Nick Diaz alone was worth buying 15        A. Yes.
            16   that company. Do you know what I mean?                  16        Q. All right.
            17   There's -- there was no value with that other -- with   17        A. Yes.
            18   the other company.                                      18        Q. All right.
            19           MR. ISAACSON: So I will object to the use of    19        A. What year was that?
            20   the video in questions on grounds of completeness, and  20        Q. That was in September of 2013. It was at the
            21   because the question in the video was not intelligible. 21     Media Scrum in connection with the UFC 168 in Rio de
            22   BY MR. DELL'ANGELO:                                     22     Janeiro.
            23       Q. Mr. White, were you able to see the video        23        A. Got it.
            24   that we played as Exhibit 68?                           24        Q. So in -- in September of 2013, was it your
            25       A. Yes.                                             25     view that there was nothing of value to acquire of

                                                                   314                                                                 316
             1          DANA WHITE - HIGHLY CONFIDENTIAL                    1           DANA WHITE - HIGHLY CONFIDENTIAL
             2       Q. Okay. Were you able to hear it okay?                2   Bellator?
             3       A. Yes.                                                3      A. Yeah. Yeah. Bellator felt the same way
             4       Q. Okay.                                               4   about the UFC. That's -- that's how you talk 'em,
             5       A. I couldn't understand what the interviewer          5   about the competition.
             6   was saying, like if it --                                  6      Q. All right. So let me show you another
             7       Q. Did -- did you understand your statement?           7   document. And in late 2013, did you believe -- well,
             8       A. Yes.                                                8   were you aware that Ben Askren was an MMA fighter?
             9       Q. Okay. And you were able to hear it okay?            9      A. Yes.
            10       A. Yes.                                               10      Q. And who is Ben Askren fighting for at the
            11       Q. All right. And did you say what it is that         11   time?
            12   you heard and that you were saying -- depicted as         12      A. Bellator. No, no, no. ONE FC. ONE FC.
            13   saying in that video?                                     13   Oh, no. He fought for Bellator too. I don't know.
            14       A. Yes.                                               14   What year?
            15       Q. Okay.                                              15      Q. 2013.
            16       A. I also didn't know what company they were          16      A. I don't know.
            17   talking about where there was no value.                   17      Q. Okay.
            18       Q. Okay. All right. Why don't -- why don't we         18      A. So he was either with Bellator or ONE FC.
            19   play it again and see if you can hear it better. I        19      Q. Okay. So why don't we play -- why don't we
            20   will represent to you that the text of the question is:   20   play an excerpt of a November 30, 2013 video taken from
            21   Is there any chance that the UFC ends up trying to buy    21   the Tough 18 Finale Prefight Interview with MMA Junkie
            22   Bellator in a couple of years?                            22   in Las Vegas. And --
            23       A. Okay. I'm good with that.                          23               (Exhibit 69 marked.)
            24       Q. Well, we will -- we will play it again and         24             (Video clip playing.)
            25   see if you can -- see if you can hear it.                 25           MR. DANA WHITE: You know, I -- I wasn't even

                                                                                                  10 (Pages 313 to 316)
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      Case 2:15-cv-01045-RFB-BNW                 Document 948-122                Filed 12/22/23           Page 12 of 26

                                                                   317                                                            319
             1            DANA WHITE - HIGHLY CONFIDENTIAL                  1          DANA WHITE - HIGHLY CONFIDENTIAL
             2   going to say this because it just sounds like I'm          2   and paid him more money.
             3   always just (beeping) on, you know, those guys. But        3          MR. DELL'ANGELO: Okay. Move to strike
             4   it's -- it's not true. There's no competition for him      4   everything after yes as nonresponsive.
             5   over at -- at Bellator. There's competition for him at     5          THE WITNESS: He doesn't want to hear the
             6   World Series of Fighting. You know, this kid               6   good stuff.
             7   will -- will probably sign with them. I don't know. I      7   BY MR. DELL'ANGELO:
             8   mean, they've got to come to an agreement and deal.        8       Q. Do you recall Tweeting about Ben Askren?
             9   But if he does, there's -- there's actual competition      9       A. Yes.
            10   for him there.                                            10       Q. Okay. And do you recall Tweeting that Ben
            11            MR. ISAACSON: So I will object to the use of     11   Askren makes Fitch look like Wanderlei Silva?
            12   the video in questions on the grounds of completeness,    12       A. Yeah.
            13   including that whoever he's talking to or whatever he's   13       Q. Do you recall Tweeting that, "When Ben
            14   responding to is not part of the video.                   14   As -- when Ambien can't sleep, it takes Ben Askren, the
            15   BY MR. DELL'ANGELO:                                       15   most boring fighter in MMA history, I would rather
            16        Q. Okay. Do -- do you remember talking about         16   watch flies fuck"?
            17   Ben Askren as a -- not having competition at Bellator?    17       A. Yeah.
            18        A. I don't remember it, but --                       18       Q. Okay.
            19        Q. Okay.                                             19       A. Ben Askren is a genius. Ben Askren started
            20        A. Yeah.                                             20   a -- a public beef with me that -- that I jumped right
            21        Q. And you thought Ben Askren was a -- is it         21   into, and, you know, he became pretty popular over here
            22   correct that you didn't believe -- or sorry.              22   in the United States. He's a smart kid.
            23            Is it correct that you believe that there        23          MR. DELL'ANGELO: Okay. Move to strike
            24   wasn't competition for Ben Askren at World Series of      24   everything after yes as nonresponsive.
            25   Fighting?                                                 25   \\

                                                                   318                                                            320
             1       DANA WHITE - HIGHLY CONFIDENTIAL                     1            DANA WHITE - HIGHLY CONFIDENTIAL
             2     A. There was?                                          2     BY MR. DELL'ANGELO:
             3      Q. That there -- that there -- that -- is it          3        Q. We're going to play another video for you,
             4   correct that you believed that Ben Askren -- that there  4     Mr. White. It's an excerpt taken from an April 23,
             5   wasn't competition at World Series of Fighting?          5     2014 interview on ESPN First Take. We will mark that
             6      A. No. I said there was competition.                  6     as Exhibit 70 to the deposition.
             7      Q. Okay.                                              7            MR. HUNTER CAMPBELL: We're on 69?
             8      A. I said there wasn't at Bellator.                   8            MR. DELL'ANGELO: I think 69 was the Tough 18
             9      Q. Okay.                                              9     Finale video from 11/13, wasn't it?
            10      A. I said there was competition at -- at --          10            MR. HUNTER CAMPBELL: We're on 69.
            11      Q. So you believe that there may have been           11            MR. KOFFMAN: 69 should have been the Tough
            12   competition for Ben Askren at World Series of Fighting, 12     Finale.
            13   but not at Bellator in late 2013; is that correct?      13            MR. DELL'ANGELO: Yeah.
            14      A. Yeah. Apparently, yes.                            14     BY MR. DELL'ANGELO:
            15      Q. Okay. And then -- but you, nevertheless,          15        Q. So we're going to mark as -- regardless,
            16   thought that Ben Askren was a boring fighter; right?    16     we're going to as Exhibit 70 an excerpt from an
            17      A. Yeah.                                             17     April 23, 2014 interview that you did on ESPN First
            18         Well, just for the record, just so you know,      18     Take. Would you take a look at the monitor, please.
            19   did you know that I tried to sign Ben Askren?           19        A. Yes.
            20      Q. My question to you was whether or not you         20                 (Exhibit 70 marked.)
            21   thought Ben Askren was a boring fighter?                21               (Video clip playing.)
            22      A. And the answer's yes. And I said to you, do       22            STEPHEN A. SMITH: But I guess what I'm
            23   you know that I tried to sign him?                      23     asking is: How is it that you're able to give people
            24         MR. DELL'ANGELO: Can I have Tab 179, please. 24          the fights that they want to see, but in another
            25         THE WITNESS: Is that a no? ONE FC outbid me       25     pugilistic sport, we have to -- the promoters are

                                                                                               11 (Pages 317 to 320)
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      Case 2:15-cv-01045-RFB-BNW                  Document 948-122               Filed 12/22/23           Page 13 of 26

                                                                   333                                                            335
             1          DANA WHITE - HIGHLY CONFIDENTIAL                    1          DANA WHITE - HIGHLY CONFIDENTIAL
             2   was available to everybody.                                2   Bellator?
             3       Q. Are -- are you not understanding the                3      A. Yeah.
             4   question? Because the question is: Is it possible to       4      Q. Okay. And you ask, "What the hell do they
             5   stack a card by acquiring fighters rather than building    5   have to stack -- stack them with?"
             6   them?                                                      6      A. Yeah.
             7       A. I answered the question.                            7      Q. Do you see that?
             8       Q. I don't think you did.                              8      A. Right.
             9       A. I answered the question.                            9      Q. Okay. And are you -- are you saying that you
            10          MR. ISAACSON: That wasn't your last                10   believed, at the time you sent this text, that Bellator
            11   question, and his answer was to your last question.       11   didn't have the fighters to stack a card with?
            12   BY MR. DELL'ANGELO:                                       12      A. Yeah. I -- I -- I love the competitive
            13       Q. So then -- then let's -- let's see if we get       13   spirit here, that I -- that I should quit because I
            14   this clear. Is it possible for an MMA promotor to         14   can't compete with the way they're going to stack their
            15   stack a card without building -- without that MMA         15   cards. I love that. That -- that's what I'm all
            16   promotor building the talent themself?                    16   about, number one.
            17       A. I don't understand the question.                   17          Number two, yeah. They could stack their
            18          Do you want to know what's even crazier?           18   cards if they built talent.
            19   Four years ago, Strikeforce had Rhonda Rousey.            19      Q. Right.
            20          MR. ISAACSON: I'm going to -- I'm going to         20      A. But they're not good at it.
            21   strike your answer. Let him --                            21      Q. And --
            22          THE WITNESS: All right. I will stop. I'm           22      A. They're -- they're really not good at it.
            23   getting crazy over here. I drank an energy drink.         23      Q. And in December of 2014, you believed that
            24   BY MR. DELL'ANGELO:                                       24   they hadn't developed the talent to stack their cards
            25       Q. So it was your view in December of 2014 that       25   with; right?
                                                                   334                                                            336
             1         DANA WHITE - HIGHLY CONFIDENTIAL                  1              DANA WHITE - HIGHLY CONFIDENTIAL
             2   Bellator didn't have fighters to stack a card with?     2          A. Yeah. In my opinion, they had not, yes.
             3      A. They did. Absolutely did.                         3          Q. Okay. So --
             4      Q. So take a look at Exhibit 11, please. Would       4          A. My opinion obviously was not the same as this
             5   you take a look at Exhibit 11, please?                  5      guy's opinion.
             6      A. Oh, okay. Okay.                                   6          Q. Right. And so let's take a look -- well, are
             7      Q. Would you go to page 155.                         7      you familiar with the term "legend fights" in MMA?
             8      A. Yeah.                                             8          A. Legend fights?
             9      Q. Okay. Would you take a look at row 3446,          9          Q. Yeah.
            10   please.                                                10          A. Okay.
            11      A. Yeah.                                            11          Q. No. I'm asking if you are familiar with the
            12      Q. Okay. That's a text from your         -- or your 12      term?
            13      number; right?                                      13          A. I'm not familiar.
            14      A. Yes.                                             14          Q. Okay. Are you family with the term "a freak
            15      Q. Okay. And that's to Mr. Fertitta's               15      show fight"?
            16   number; correct?                                       16          A. Eh, I mean, freak show, that -- that's what I
            17      A. Okay.                                            17      call some of the fights.
            18      Q. Okay? And it's dated December 8, 2014;           18          Q. Okay. What's a freak show fight?
            19   correct?                                               19          A. So when I built this business, right,
            20      A. Yes.                                             20      I -- I -- I set standards. So I was a huge boxing fan
            21      Q. Okay. And you're indicating in that text         21      growing up. Okay? And I hated everything that boxing
            22   that you spoke to somebody who did play-for-play for 22        did. Loved the sport, but hated everything they did.
            23   Bellator; correct?                                     23      So I had a vision in my mind of how I would do it and
            24      A. I'm reading it right now. Yeah.                  24      how I would change everything from the live event to
            25      Q. Okay. So this text message refers to             25      the fights to how it's produced on television,

                                                                                               15 (Pages 333 to 336)
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      Case 2:15-cv-01045-RFB-BNW                  Document 948-122                Filed 12/22/23                    Page 14 of 26

                                                                   337                                                                   339
             1          DANA WHITE - HIGHLY CONFIDENTIAL                    1         DANA WHITE - HIGHLY CONFIDENTIAL
             2   everything. That's my opinion. Okay?                       2   conveying in the video is not your belief, but your
             3          So I went out -- with my opinion, I went out        3   testimony now is that that's Mr. Silva's belief?
             4   and looked at people that I thought were talented and      4      A. Correct.
             5   built talent and did all this stuff, and that's my         5      Q. Okay.
             6   opinion.                                                   6         MR. ISAACSON: Whoa, whoa. I will -- I
             7          Now, if I look at some of these fights that         7   neglected my objection, which I believe it was a
             8   other people do, you know, when -- when I see a fight      8   continuing one, but the -- I object to questions based
             9   that I don't like and I wouldn't do it my -- that's not    9   on the video on the grounds of completeness.
            10   what I would do, I call it a freak show.                  10   BY MR. DELL'ANGELO:
            11       Q. Okay. And it was your -- was it your view          11      Q. Okay. Let's play -- I'm going to mark
            12   that Bellator couldn't generate strong ratings unless     12   another video as Exhibit 73. Exhibit 73 is an excerpt
            13   it was putting on freak shows?                            13   from the same February 22, 2013 UFC 157 Pre-fight Media
            14       A. Yes. In what I would determine to be a freak       14   Scrum in Anaheim, California.
            15   show, yes.                                                15         MR. ISAACSON: I repeat my objection to the
            16       Q. All right. So we talked a little bit               16   excerpts.
            17   earlier, do you recall, about the number of fighters      17         MR. DELL'ANGELO: Yep.
            18   that UFC had under contract and whether or not at         18                (Exhibit 73 marked.)
            19   various times there may have been too many fighters       19               (Video clip playing.)
            20   under contract. Do you recall that?                       20         REPORTER: I think what some people have a
            21       A. No. That's a Joe Silva thing. There's too          21   problem with is just the fact that, you know, like
            22   many fighters under contract is a Joe Silva thing.        22   Leonard Garcia and Dan Hardy were defending themselves
            23       Q. Let's take a look --                               23   on Twitter yesterday cause fans were saying, you know,
            24       A. The matchmaking is a number games for those        24   "Oh, you guys still have a job. You guys keep losing."
            25   guys. If we can't get somebody at a certain amount of     25   Can you just -- I think that all of us -- and you talk

                                                                   338                                                                   340
             1          DANA WHITE - HIGHLY CONFIDENTIAL                  1            DANA WHITE - HIGHLY CONFIDENTIAL
             2   fights, they have to be paid for not fighting.           2     about the bubble. We can say, Well, there are some
             3      Q. Okay. I'm going to mark as Exhibit 72 an           3     fighters who are in the UFC primarily, and they're
             4   excerpt of a video from February 22, 2013 from the UFC 4       great fighters, but for entertainment value.
             5   157 Pre-fight Media Scrum in Anaheim, California.        5            MR. DANA WHITE: That's not true. So the
             6   Mr. White, would direct your attention to the monitor.   6     question -- here's the question. Any fucking -- look
             7              (Exhibit 72 marked.)                          7     at any sport, anybody who owns a team or a league or
             8             (Video clip playing.)                          8     anything like that, when you look at Urijah -- I
             9         REPORTER: So how long is the rope, then, for       9     have -- here -- here's another fact. We have
            10   a guy like Urijah Faber?                                10     470-something guys under contract. Okay? We have over
            11         MR. DANA WHITE: Yeah. Could be Saturday.          11     100 guys too many. We have over 100 guys too many on
            12   You never know. There's over 100 guys. We're heavy.     12     the roster right now.
            13   BY MR. DELL'ANGELO:                                     13     BY MR. DELL'ANGELO:
            14      Q. Is that you in the video, Mr. White?              14         Q. Okay. So, Mr. White, was that you depicted
            15      A. Yes.                                              15     on the video?
            16      Q. Okay. And were you able to hear it okay?          16         A. Yes.
            17      A. Yes.                                              17         Q. Okay. And were you able to hear it okay?
            18      Q. And did you -- did you say that?                  18         A. Yes.
            19      A. Yes.                                              19         Q. And you said that UFC has 470-something guys
            20      Q. Okay. And so in February of 2013, you said        20     under contract; correct?
            21   that the -- you were 100 guys heavy. Did that mean you 21          A. Correct.
            22   had too many -- 100 guys too many on the roster at that 22         Q. Okay. And you also said that there were 100
            23   time?                                                   23     guys too many on the roster at that time?
            24      A. According to Joe Silva, yes.                      24         A. Yes.
            25      Q. Okay. So your -- the information that you're      25            MR. DELL'ANGELO: Okay. I'm going to mark

                                                                                                    16 (Pages 337 to 340)
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      Case 2:15-cv-01045-RFB-BNW                 Document 948-122               Filed 12/22/23           Page 15 of 26

                                                                  341                                                            343
             1          DANA WHITE - HIGHLY CONFIDENTIAL                   1          DANA WHITE - HIGHLY CONFIDENTIAL
             2   another video as Exhibit 74. It's taken -- it's an        2   BY MR. DELL'ANGELO:
             3   excerpt from an October 19, 2013 UFC 166 Post-fight       3      Q. Mr. White, were -- was that you depicted in
             4   Media Scrum in Houston, Texas.                            4   the video?
             5               (Exhibit 74 marked.)                          5      A. Yes.
             6              (Video clip playing.)                          6      Q. And were you able to see it okay?
             7          MR. DANA WHITE: I kept telling you guys our        7      A. Yes.
             8   roster is too full. Guys have to get fights. And it's     8      Q. And you heard it okay?
             9   like every time after a show and we cut a guy, they're    9      A. Yes.
            10   like, Fuck you, Dana White. You're an idiot. This        10      Q. Okay. Is it correct that in the UFC, if UFC
            11   guy -- da, da, da. Shut the fuck up. Let us run our      11   signs a fighter, it's obligated to give the fighter
            12   business. Look. The roster's too full.                   12   three fights a year?
            13   BY MR. DELL'ANGELO:                                      13      A. Yes.
            14      Q. Mr. White, is that you depicted in the video?      14      Q. Okay. And is it also true -- is it correct
            15          MR. ISAACSON: I'm objecting on the grounds        15   that if the UFC doesn't give the fighter three fights
            16   of completeness.                                         16   per year, UFC's still obligated to compensate the
            17          MR. DELL'ANGELO: Okay.                            17   fighter in some way?
            18          MR. ISAACSON: In addition, that seems to be       18      A. Absolutely. Not in some way. He gets his
            19   cut off at the beginning and the end.                    19   full purse.
            20   BY MR. DELL'ANGELO:                                      20      Q. And isn't it correct that even as late as
            21      Q. Okay. Mr. White, was that you depicted in          21   December of 2014, Mr. Shelby was also telling you that
            22   the video?                                               22   the UFC's roster had at least 100 more fighters on it
            23      A. Yes.                                               23   than the UFC needed?
            24      Q. Okay. And were you able to hear it okay?           24      A. Yes.
            25      A. Yes.                                               25      Q. All right. Fighter purses are -- in MMA are

                                                                  342                                                            344
             1          DANA WHITE - HIGHLY CONFIDENTIAL                1            DANA WHITE - HIGHLY CONFIDENTIAL
             2      Q. Okay. And did you again say in October of        2      reported publicly; right?
             3   2013 that the roster was too full at the UFC?          3         A. Yes.
             4      A. Yes.                                             4         Q. Okay. But the fighter purse doesn't reflect
             5      Q. Okay. All right.                                 5      necessarily the full amount that a fighter's paid; is
             6      A. So to expand on that -- Joe Silva was --         6      that correct?
             7      Q. There's not a question pending.                  7         A. Correct.
             8      A. No, you don't want to hear this one?             8         Q. And that's because, at least at the UFC,
             9      Q. No. There's just not a pending question.         9      fighters are sometimes compensated with bonuses or
            10      A. Got it.                                         10      other forms of payment that are not part of their fight
            11      Q. So I'm going to mark as Exhibit 75 a video      11      purse; correct?
            12   from September 2013 from the UFC Tonight interview. 12           A. Correct.
            13               (Exhibit 75 marked.)                      13         Q. Okay. And you're familiar with boxing;
            14              (Video clip playing.)                      14      correct?
            15          MR. DANA WHITE: Those guys signed him, and 15             A. Yes.
            16   now they won't give him a fight until January? If you 16         Q. And you've promoted boxing matches in the
            17   sign a -- if you sign a contract with the UFC, I owe  17      past; right?
            18   you three fights in a year. If you don't fight those  18         A. No.
            19   three fights in a year because of me, I still have to 19         Q. Or you're -- you're promoting one now; right?
            20   pay you your money.                                   20         A. Yes.
            21   BY MR. DELL'ANGELO:                                   21         Q. And you have represented boxers in the past;
            22      Q. Mr. White --                                    22      right?
            23          MR. ISAACSON: I will repeat my objection.      23         A. Yes.
            24          MR. DELL'ANGELO: Yeah.                         24         Q. You represented Tito Ortiz when he was a
            25   \\                                                    25      boxer; right?

                                                                                              17 (Pages 341 to 344)
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FILED UNDER SEAL
      Case 2:15-cv-01045-RFB-BNW                 Document 948-122               Filed 12/22/23           Page 16 of 26

                                                                  345                                                            347
             1         DANA WHITE - HIGHLY CONFIDENTIAL                    1          DANA WHITE - HIGHLY CONFIDENTIAL
             2      A. No. Tito didn't box.                                2   tries to negotiate with a fighter before the fighter's
             3      Q. Okay.                                               3   contract expires?
             4      A. He was -- there was -- there was a kid named        4       A. Both ways.
             5   Derek Harmon who fought Roy Jones, Jr.                    5       Q. So I'm going to mark as Exhibit 76 an excerpt
             6      Q. And you represented him?                            6   of a video taken on December 29, 2016 from a UFC 207
             7      A. Yes.                                                7   Pre-fight Scrum in Las Vegas, Nevada.
             8      Q. Okay. You are promoting a fairly notable            8              (Exhibit 76 marked.)
             9   boxing match right now; right?                            9             (Video clip playing.)
            10      A. Yes.                                               10          MR. DANA WHITE: You honor your deal, you
            11      Q. Okay. Upcoming?                                    11   know, or you at least get to a point, you know, because
            12      A. The biggest ever in combat sports history.         12   most guys never make it to the end of a UFC contract.
            13      Q. According to the t-shirts you had printed up?      13   They will get within three fights, and then we want to
            14      A. That's right. That's right.                        14   sit back down and start talking, right, to keep them.
            15      Q. So is it correct that in boxing, the types of      15   BY MR. DELL'ANGELO:
            16   bonuses that the UFC pays the conformed part of a        16       Q. Mr. White --
            17   fighter's compensation would also have to be disclosed   17          MR. ISAACSON: I will object on the grounds
            18   publicly?                                                18   of completeness --
            19      A. Ask me that question again.                        19   BY MR. DELL'ANGELO:
            20      Q. Sure. Is it correct that in boxing, a              20       Q. Mr. White --
            21   fighter's total compensation has to be disclosed         21          MR. ISAACSON: -- especially that the
            22   publicly?                                                22   question and the answer are not present.
            23      A. I don't know. I don't know the answer to           23   BY MR. DELL'ANGELO:
            24   that.                                                    24       Q. Okay. Mr. White, were you able to see the
            25      Q. Are you familiar with something called the         25   video at Exhibit 76?

                                                                  346                                                            348
             1         DANA WHITE - HIGHLY CONFIDENTIAL                   1           DANA WHITE - HIGHLY CONFIDENTIAL
             2   Ali Act?                                                 2       A. Yes.
             3      A. I -- I know it, but I don't know it.               3       Q. Okay. And were you able to hear it okay?
             4      Q. Oh, you don't -- you are aware of it, is that      4       A. Yes.
             5   what you're saying?                                      5       Q. Okay. And you indicated that a -- a fighter
             6      A. I'm aware of it, but I don't know it.              6    will get within three fights, and then "we will to sit
             7      Q. Okay.                                              7    back down with them and start talking, right, to keep
             8      A. If you asked me to break it down for you, I        8    them." Did you hear that part?
             9   couldn't.                                                9       A. Yes.
            10      Q. Okay. That's fair.                                10       Q. Okay. And were you referring to
            11         And renegotiation is a regular part of your       11    renegotiating the fighter's contract when they got
            12   business at UFC; right, renegotiating fighter           12    close to the end of the contract?
            13   contracts?                                              13       A. Yes.
            14      A. Yes. Yes.                                         14       Q. Okay. You also believe the fighter pay
            15      Q. Okay. And -- and does the UFC typically seek      15    should not be public; right?
            16   to renegotiate -- well, let me withdraw that.           16       A. It's up to the fighter.
            17         With respect to fighters that the UFC wants       17       Q. There are certainly fighters whom you believe
            18   to keep under contract, does the UFC typically seek to  18    should accept less money to fight in the UFC than to
            19   renegotiate with a fighter before the fighter's         19    fight for another promotion; right?
            20   contract has been completed, meaning they've fought all 20       A. Depends. I mean, it's -- listen. If you are
            21   their bouts?                                            21    coming from another promotion and, you know, you are
            22      A. It depends. It's -- it goes both ways.            22    getting paid a lot of money.
            23   There's -- there's some we do, and there's some that    23           I will give you an example. Robbie Lawler,
            24   run go out and we negotiate. It's up to the fighter.    24    with whom I have a great relationship with and like
            25      Q. Isn't true, though, that the UFC typically        25    very much, was getting paid big money at Strikeforce,

                                                                                              18 (Pages 345 to 348)
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FILED UNDER SEAL
      Case 2:15-cv-01045-RFB-BNW                    Document 948-122               Filed 12/22/23           Page 17 of 26

                                                                       349                                                          351
             1          DANA WHITE - HIGHLY CONFIDENTIAL                      1         DANA WHITE - HIGHLY CONFIDENTIAL
             2   and he didn't want to be there anymore. And he's like,       2      Q. All right. And can you look at the bottom of
             3   "I want to come back to the UFC." And I'm like, "Kid,        3   Exhibit 77. It's an e-mail from Joe Silva to you and
             4   I can't pay you what they're paying you. I can't do          4   Lorenzo Fertitta dated April 20, 2010; right?
             5   it. Love you, but can't do it." I'm running a                5      A. Uh-huh.
             6   business.                                                    6      Q. And it's regarding Nate Diaz?
             7       Q. And so from your perspective, Mr. Lawler              7      A. Yes.
             8   should have been willing to accept less money to fight       8      Q. Nate Diaz is an MMA fighter?
             9   for the UFC; right?                                          9      A. Yes.
            10       A. No. In my opinion, Mr. Lawler was extremely          10      Q. Okay. And is it correct that around this
            11   overpaid, and that's the type of stuff that makes you       11   time, April of 2010, UFC was in negotiations with
            12   go out of business and get in the hole $33 million.         12   Mr. Diaz?
            13       Q. Okay. Nevertheless, he -- he would have had          13      A. Yes.
            14   to accept less money to fight for the UFC; right?           14      Q. Okay. If you look at the e-mail at the very
            15       A. Yeah. I couldn't afford to pay him that.             15   top of the page --
            16       Q. Okay. And what are the circumstances that            16      A. Yeah.
            17   you understand Mr. Silva will lowball a fighter when        17      Q. -- from Joe Silva to you and Lorenzo
            18   making a -- an offer to them?                               18   Fertitta, dated April 20 of 2010, Mr. Silva writes to
            19          MR. ISAACSON: Objection to form.                     19   you: "I lowballed him on purpose the first offer,
            20          THE WITNESS: Well, he -- he -- Joe Silva is          20   knowing they would turn it down." Do you see that?
            21   the negotiator. He's negotiating a deal. When you           21      A. Uh-huh.
            22   negotiate any deal, whether it's for a law firm to work     22      Q. Okay. Does that refresh your recollection
            23   there or whatever, you come in at a number that you         23   that Mr. Silva would lowball a fighter, knowing that
            24   feel you can pay the guy. And, normally, you know, the      24   they will turn the offer down?
            25   way that -- it all depends on the way you negotiate.        25      A. That's exactly what I just told you.
                                                                       350                                                          352
             1          DANA WHITE - HIGHLY CONFIDENTIAL                 1               DANA WHITE - HIGHLY CONFIDENTIAL
             2   Silva negotiates low because he knows he's going to end 2           Q. Okay. And then if you look at the last
             3   up at that number that the fighter wants to be at, and  3        sentence, Mr. Silva says: "If they turn it down, I put
             4   not higher than that.                                   4        them in a prelim against a really tough guy for his
             5   BY MR. DELL'ANGELO:                                     5        last fight." Do you see that?
             6      Q. Mr. -- do you recall Mr. Silva ever telling       6           A. Yeah.
             7   you that -- well, let's just get one thing clear.       7           Q. Okay. So is it your understanding that
             8   What -- what's your understanding of the term "lowball" 8        Mr. Silva will put a fighter in a tough fight in a
             9   in a contract negotiation?                              9        prelim if he turns down an offer?
            10      A. What he's saying by lowballing is I'm going      10           A. Every -- every fight in the UFC is a tough
            11   to go below the number that -- that I know that they   11        fight. There's no easy fights in the UFC.
            12   want to be so we don't end up at a higher number than  12           Q. And Mr. Silva has told you that this is the
            13   where they want to be.                                 13        sort of thing that he does; right? That he will pit
            14      Q. And is -- isn't it true that Mr. Silva has       14        fighters against really tough opponents if he doesn't
            15   told that you he will lowball a fighter knowing that   15        like how the fighters behave?
            16   they will turn the offer down?                         16           A. Well --
            17      A. Oh, I don't know.                                17               MR. ISAACSON: Objection to form.
            18         MR. DELL'ANGELO: Okay. 113, please.              18               THE WITNESS: If you -- first of all,
            19              (Exhibit 77 marked.)                        19        everybody is tough in the UFC. There -- there's no
            20   BY MR. DELL'ANGELO:                                    20        fighter in the UFC -- they're there because they're all
            21      Q. Mr. White, I am handing you what I have          21        tough. And you put them on a prelim -- when he says,
            22   marked as Exhibit 77 to the deposition. Exhibit 77 is  22        "I will put him on a prelim," that's on Fox. So
            23   a one-page e-mail at ZFL-1421551. Do you have that     23        there's actually more eyeballs on Fox sometimes than
            24   Exhibit 77, Mr. White?                                 24        the pay-per-view. Do you know what I mean? Sometimes
            25      A. Yes.                                             25        the pay-per-view will pull higher numbers than -- than

                                                                                                 19 (Pages 349 to 352)
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FILED UNDER SEAL
      Case 2:15-cv-01045-RFB-BNW                   Document 948-122              Filed 12/22/23           Page 18 of 26

                                                                     353                                                         355
             1          DANA WHITE - HIGHLY CONFIDENTIAL                    1          DANA WHITE - HIGHLY CONFIDENTIAL
             2   Fox. But for the most part, that's a good place to be.     2   that we just played at Exhibit 78?
             3   That's where we highlight guys and -- and where they       3      A. Yes.
             4   go. And if you beat who Joe -- you know, to Joe Silva      4      Q. And were you able to hear it okay?
             5   is a tough guy and -- to him and his mind, and now you     5      A. Yes.
             6   are a free agent, well, you know exactly where you are     6      Q. Okay. And did you say that?
             7   at then. You -- you have nothing but leverage in           7      A. Yes.
             8   negotiating power.                                         8      Q. Okay. And is it true that Mr. -- that if you
             9   BY MR. DELL'ANGELO:                                        9   turn down a fight that Mr. Silva offers, it will -- it
            10       Q. If you lose, you have less leverage; right?        10   will be worse for the fighter?
            11       A. Well, that's the sport.                            11      A. We're in the fight business. That's what we
            12       Q. Okay. And --                                       12   do. We put on fights, we sell fights. Yes. If you
            13       A. Any sport.                                         13   call and say to him, Hey, listen. I don't want to
            14       Q. Isn't it true that Joe Silva will put a            14   fight. You know, Joe Silva is -- that's the business
            15   fighter in a particularly tough fight if he -- if the     15   we're in. You have to fight. What are you -- what are
            16   fighter turns a fight down?                               16   you going to -- you're in the UFC, you're in the fight
            17       A. They're all tough fights.                          17   business, and you're saying you don't want to fight?
            18          MR. ISAACSON: Objection to form.                   18   Yeah.
            19          THE WITNESS: They're all tough fights.             19      Q. So it -- it will be worse for the fighter if
            20   There are -- there are no easy fights in the UFC.         20   they turn down the fight; is that correct?
            21   BY MR. DELL'ANGELO:                                       21      A. Yeah. He's mean and nasty. That's why.
            22       Q. I'm going to mark -- some are harder than          22      Q. Okay. We -- we were talking a minute
            23   others, though; right?                                    23   about -- about fighter pay. Has the UFC taken steps to
            24       A. Let me tell you what. You ask me and Joe           24   keep fighter -- total fighter compensation secret from
            25   Silva, Shawn Shelby, any of the matchmakers who's going   25   other fighters? That is --

                                                                     354                                                         356
             1         DANA WHITE - HIGHLY CONFIDENTIAL                   1            DANA WHITE - HIGHLY CONFIDENTIAL
             2   to win this Saturday? Yeah. Guess what the answer is?    2         A. Every -- every guy's contract -- first of
             3   We're almost always wrong on who's going to win.         3     all, none of these fighters want their pay out in the
             4       Q. Okay. Let me --                                   4     open. I don't know if I've ever had a fighter that
             5       A. So there's no such thing as that.                 5     said, "Hey, let's put my -- put my pay out there."
             6       Q. Let me mark as Exhibit 78 an excerpt of a         6            And do we -- do we work to keep away from
             7   video from February 16, 2013 on UFC on FUEL TV 7 the 7         people? You know, I would -- I would have to say I
             8   Post-fight Media Scrum in London, England.               8     don't remember any instances. But, yeah, we
             9               (Exhibit 78 marked.)                         9     probably -- we have probably done it, yeah.
            10              (Video clip playing.)                        10         Q. There were certainly times when it would be
            11          MR. DANA WHITE: I can tell you this, man,        11     problematic for the UFC if other fighters found out
            12   you fucking call Joe Silva and turn down a fight, you   12     what a particular fighter was making; right?
            13   might as well just say fucking rip up my contract.      13         A. Say that again.
            14   Yeah. He's a -- yeah. He's a -- he's a mean little      14         Q. There are instances, are there not, where it
            15   fucker. You don't call Joe Silva and tell him you       15     would have been problematic for the UFC if fighters
            16   don't want to fucking fight anybody. You might as well  16     found out what another fighter was making?
            17   just take the fight because -- because it's going to be 17            MR. ISAACSON: Objection to form.
            18   worse if you do. You might as well just do it. Fuck     18            THE WITNESS: There would be --
            19   it. All right. I will fight him.                        19     BY MR. DELL'ANGELO:
            20   BY MR. DELL'ANGELO:                                     20         Q. Let's -- I will withdraw the question. Let's
            21       Q. Okay. Mr. White, was that you --                 21     take a specific example.
            22          MR. ISAACSON: I will object to the use of        22         A. Yeah.
            23   the video on completeness grounds.                      23         Q. You were concerned at the UFC, were you not,
            24   BY MR. DELL'ANGELO:                                     24     that if fighters found out what Kimbo Slice was being
            25       Q. Mr. White, was that you depicted in the video    25     paid by the UFC that other fighters would be unhappy;

                                                                                               20 (Pages 353 to 356)
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      Case 2:15-cv-01045-RFB-BNW                 Document 948-122               Filed 12/22/23             Page 19 of 26

                                                                  357                                                                 359
             1          DANA WHITE - HIGHLY CONFIDENTIAL                   1          DANA WHITE - HIGHLY CONFIDENTIAL
             2   correct?                                                  2   you're getting it right? That is, the numbers that
             3      A. Yeah.                                               3   you're disclosing, do you make an effort to make sure
             4      Q. Okay.                                               4   that you're --
             5      A. Yeah. It just happened recently again too.          5      A. Yeah. Well, I read the number somewhere. I
             6   We had some guy that was -- that was paid a certain       6   got it -- I got it from accounting. And understand,
             7   amount of money and never -- oh, the professional         7   when I -- when I put a number out, it's a total of
             8   wrestler that we brought in. Not Brock, the other one.    8   everything. Bonuses, you know, to date what he's been
             9      Q. CM Punk?                                            9   paid in the UFC.
            10      A. Huh?                                               10      Q. Sure. So --
            11      Q. CM Punk?                                           11             (Exhibit 79 marked.)
            12      A. CM Punk. Oh, yeah. People went crazy when          12   BY MR. DELL'ANGELO:
            13   they saw what he got paid.                               13      Q. Here's what we have marked as Exhibit 79.
            14      Q. Other fighters?                                    14   Exhibit 79 is a document entitled Dana White, Wanderlei
            15      A. Even the women. Yes.                               15   Silva was paid $9.7 by the UFC by Nate Wilcox,
            16      Q. UFC fighters, that is?                             16   September 27, 2014. Do you recall saying publicly that
            17      A. Yes.                                               17   Wanderlei Silva was paid 9.7 million by the UFC?
            18      Q. Okay. And so it has -- it has been a concern       18      A. No. I don't remember the -- the number or
            19   from time to time with the UFC, such that the UFC        19   whatever.
            20   doesn't want fighters to know what other fighters are    20         MR. ISAACSON: I will object to the document
            21   making; right?                                           21   on the grounds of completeness --
            22      A. All the -- all the fighters know what other        22   BY MR. DELL'ANGELO:
            23   fighters are making. They all talk. They all talk.       23     Q. Yeah. The question is whether or not --
            24   They all know. Even guys who say they don't want their   24        MR. ISAACSON: Let me finish my objection,
            25   number out there, they tell. They tell the other         25   whether it be a excerpt from some other publication.

                                                                  358                                                                 360
             1          DANA WHITE - HIGHLY CONFIDENTIAL                 1            DANA WHITE - HIGHLY CONFIDENTIAL
             2   fighters.                                               2            THE WITNESS: That's right. This is Bloody
             3       Q. You sometimes put their numbers out there;       3     Elbow again. It's not an actual interview with me.
             4   right?                                                  4     BY MR. DELL'ANGELO:
             5       A. Me?                                              5        Q. So just so we're clear, you don't recall, as
             6       Q. Yeah.                                            6     you sit here today, saying that Wanderlei Silva made
             7       A. Well, I -- the only way that I would ever        7     $9.7 million; is that --
             8   another fighter -- a fighter's number out there that    8        A. Correct.
             9   didn't want it out there is if he lied about what he    9        Q. Okay.
            10   was being paid.                                        10        A. And the source is Bloody Elbow.
            11       Q. And --                                          11     That's -- who doesn't even do interviews. They
            12       A. If he lied about what he was being              12     actually take stuff from other people. You guys have
            13   paid -- for example, Randy Couture. Randy Couture went 13     got to stop reading this website.
            14   out there and completely lied about what he made. And 14         Q. So you -- your view is that the quote of you
            15   I said what he said isn't true. He made "X."           15     may be unreliable; is that correct?
            16       Q. What about Wanderlei Silva?                     16        A. Bloody Elbow?
            17       A. He must have lied too if I put it out there.    17        Q. Yeah.
            18       Q. Okay. And do you know if -- if you put it       18        A. I think it speaks for itself.
            19   out there, that is what Wanderlei Silva was paid?      19        Q. Okay. How about Matt Riddle, do you recall
            20       A. No. I don't even know what Wanderlei Silva      20     disclosing his pay publicly?
            21   was paid.                                              21        A. Oh, and they're saying it's from Brazil.
            22          MR. DELL'ANGELO: May I have 144, please?        22     This story was from Brazil, which was in Portuguese.
            23   BY MR. DELL'ANGELO:                                    23     And a sophisticated website like Bloody Elbow is giving
            24       Q. So when you -- when you do disclose fighter     24     the accurate --
            25   pay publicly, do you make an effort to make sure that 25         Q. I take it you don't read Portuguese; right?

                                                                                               21 (Pages 357 to 360)
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      Case 2:15-cv-01045-RFB-BNW                 Document 948-122              Filed 12/22/23              Page 20 of 26

                                                                  385                                                                  387
             1          DANA WHITE - HIGHLY CONFIDENTIAL                  1        DANA WHITE - HIGHLY CONFIDENTIAL
             2      A. Okay. Which number?                                2      A. Yes.
             3      Q. Page 41.                                           3      Q. Okay. Would you take a look at row 273,
             4      A. Okay.                                              4   please.
             5      Q. Okay. And let's go down -- I want you to           5      A. Yeah.
             6   look at row 1054.                                        6      Q. Okay. 27 -- row 273 is a text message from
             7      A. Okay.                                              7   your 875 number to Mr. Fertitta's number May 29, 2014;
             8      Q. And that's an August 7, 2014 text message          8   correct?
             9   from Lorenzo Fertitta to you at your number; right? 9           A. Yes.
            10      A. Yes.                                              10     Q. Okay. And you ask, "What's up with Jones?
            11      Q. Okay. And that's several days after the           11   Did he straighten up or is he still being a scumbag?"
            12   August 5, 2014 text messages that we looked at a few    12   Do you see that?
            13   minutes ago in this same Exhibit 60, as well as         13     A. Yeah.
            14   Exhibit 11; right?                                      14       Q. Okay. Who is the Jones that you're referring
            15      A. Okay.                                             15   to there?
            16      Q. You -- would you agree with that?                 16       A. Jon Jones.
            17      A. What was the question?                            17     Q. Okay. And Mr. Fertitta responds, "Still a
            18      Q. Just that the August 7, 2014 text message at      18   douche, but we're inching closer. Haven't moved on
            19   row 1054 of Exhibit 60 is a couple of days after the    19   money, but sent the letter with an ultimatum."
            20   August 5, 2017 (sic) text messages that we looked at in 20   Correct?
            21   the same Exhibit 60 a few minutes ago, as well as an    21     A. Yeah.
            22   Exhibit 11?                                             22      Q. Okay. And then what's your response?
            23      A. Okay.                                             23      A. "Awesome. Fuck that punk, Lorenzo. He needs
            24      Q. Okay. And Mr. Fertitta indicates to you           24   to know we don't need him or he will fuck us over more
            25   that -- essentially, you still haven't resolved things  25   than he already does."

                                                                  386                                                                  388
             1         DANA WHITE - HIGHLY CONFIDENTIAL                  1          DANA WHITE - HIGHLY CONFIDENTIAL
             2   with Mark Hunt; right?                                  2      Q. Okay. So you wanted Mr. Fertitta to let
             3         MR. ISAACSON: Which line are you at now?          3    Mr. Jones know that the UFC didn't need him?
             4         THE WITNESS: 10 --                                4      A. Yeah.
             5   BY MR. DELL'ANGELO:                                     5       Q. Okay.
             6      Q. 1054. Right? Is that right?                       6       A. So he wouldn't continue to fuck us over like
             7      A. Yes. Yes.                                         7    he already does.
             8      Q. Okay. And in 1057 you say, "Okay. Yeah.           8       Q. Right. And be a scumbag in negotiations?
             9   He's a fuckhead." Right?                                9       A. No. Do you know Jon Jones' history? Just to
            10      A. Yeah.                                            10    be a scumbag in life.
            11      Q. In 1058, what do you tell Mr. Fertitta to do     11        Q. So you were -- you were -- were you asking in
            12   with Mr. Hunt?                                         12    row 27 -- sorry, 2073, if Mr. Jones was still a scumbag
            13      A. "Bury that fucker."                              13    in life?
            14      Q. Right. And --                                    14        A. I don't know.
            15      A. It means sue him.                                15       Q. Okay.
            16      Q. Okay. And let's take a look back at              16       A. But, yeah. I mean, you could get pretty much
            17   Exhibit 11. That's the Lorenzo Fertitta text           17    every guy who works for me to testify that, yes, I was
            18   compilation. Mr. White?                                18    not happy with Jon Jones' life choices.
            19      A. I'm sorry, what?                                 19       Q. Right. All right. And ultimately, your view
            20      Q. Could you -- could you look back at              20    was, though, that in -- as part of the negotiation with
            21   Exhibit 11, please? That's the Lorenzo Fertitta        21    Mr. Jones, he needed to understand that the UFC didn't
            22   compilation.                                           22    really need him; right?
            23      A. Yeah. All right.                                 23       A. Yeah. You don't need a guy that keeps doing
            24      Q. All right. And would you go to page 92,          24    what this guy's doing.
            25   please. All right. And would you -- you're there?      25       Q. Right. You can set that aside.

                                                                                              28 (Pages 385 to 388)
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      Case 2:15-cv-01045-RFB-BNW                 Document 948-122                 Filed 12/22/23                 Page 21 of 26

                                                                   389                                                                  391
             1        DANA WHITE - HIGHLY CONFIDENTIAL               1                 DANA WHITE - HIGHLY CONFIDENTIAL
             2     A. Huh?                                           2          during the right-to-match period, that's when a fighter
             3      Q. Oh, you can set that exhibit aside. I'm done  3          truly finds out what he or she is worth; right?
             4   with that exhibit.                                  4              A. Correct.
             5      A. Oh.                                           5              Q. Oh, and it -- isn't it also true that after
             6      Q. Thank you. You can set it aside.              6          the last fight under a fighter's contract, Zuffa has a
             7         MR. DELL'ANGELO: Can we take a quick comfort 7           90-day exclusive negotiation period?
             8   break?                                              8              A. Correct.
             9         MR. ISAACSON: Sure.                           9              Q. Okay. So just to make sure we have all this
            10         MR. DELL'ANGELO: Okay. Let's go off the      10          together, during the course of the contract, when a
            11   record.                                            11          fighter still has fight on his or her contract, he
            12         VIDEOGRAPHER: The time is approximately      12          can't -- or she can't -- negotiate with another MMA
            13   5:52 p.m. We are going off the record.             13          promotion; right?
            14             (A short break was taken.)               14              A. Correct.
            15         VIDEOGRAPHER: The time is 6:13 p.m. We are   15              Q. And if a fighter fights all of the fights
            16   back on the record.                                16          under his or her contract, at that point, the fighter
            17   BY MR. DELL'ANGELO:                                17          still can't go out and entertain offers from other MMA
            18      Q. Okay. Mr. White, Zuffa's contracts with      18          promotors until that 90-day -- until 90 more days
            19   fighters typically include what's referred to as a 19          expire; right?
            20   right-to-match clause; is that correct?            20              A. Right.
            21      A. Correct.                                     21              Q. Okay.
            22      Q. Okay. And what's a right-to-match clause?    22              A. That -- that's typical business. I have the
            23      A. It means that if they go out and -- and shop 23          same thing -- our deal is up with Fox. We've been
            24   around the market, we have the right to match it,  24          sitting around and can't talk to anybody until the
            25   whatever -- whatever their offer is.               25          negotiation period is over.

                                                                   390                                                                  392
             1          DANA WHITE - HIGHLY CONFIDENTIAL                    1         DANA WHITE - HIGHLY CONFIDENTIAL
             2       Q. And -- but if Zuffa renegotiates a                  2      Q. I understand. I just want to make sure that
             3   contract -- well, let me withdraw that.                    3   we have kind of a common understanding in the testimony
             4          When it is your understanding that the              4   about how the -- the contracts generally work for
             5   right-to-match period becomes open?                        5   fighters.
             6       A. So there's a certain amount of time that the        6      A. Got it.
             7   fighter can go out and shop in the open market. And        7      Q. And -- okay.
             8   then when he gets an offer that he's happy with, he        8         And so, you know, I asked you a few minutes
             9   brings it back, and we have the right to match it or       9   ago if it's -- if it's when -- if you said that it's
            10   let him go.                                               10   when the contract is up and a fighter goes out and
            11       Q. All right. Now the fighter -- the fighter          11   tries to get -- get bids under that right to match
            12   can't go out and shop, as you say, until he's actually    12   period, if that, from your perspective, is when the
            13   completed his contract; right?                            13   fighter truly finds out what the fighter is worth. Do
            14       A. Right.                                             14   you recall that?
            15       Q. Meaning --                                         15      A. Yes.
            16       A. Right.                                             16      Q. Okay. And you -- you agree that a fighter
            17       Q. -- he has to fight all -- or she -- has to         17   only really finds out what he or she is truly worth
            18   fight all of the fights on the original contract?         18   during that right-to-match period?
            19       A. Correct.                                           19      A. Not -- not the right-to-match, when they go
            20       Q. Okay. And so is it correct that if Zuffa           20   out and try to negotiate.
            21   renegotiates a contract with a fighter before a fighter   21      Q. With another MMA promotion?
            22   has completed his or her contract, the right to match     22      A. Correct.
            23   period never opens up?                                    23      Q. Okay. And so before that, the fighter -- is
            24       A. Yeah. They never go to the open market.            24   it correct, then, that the fighter doesn't truly know
            25       Q. Okay. And you've said that -- that it's            25   what they're -- what they're worth because they've been

                                                                                                   29 (Pages 389 to 392)
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      Case 2:15-cv-01045-RFB-BNW                  Document 948-122               Filed 12/22/23             Page 22 of 26

                                                                   393                                                                 395
             1          DANA WHITE - HIGHLY CONFIDENTIAL                    1        DANA WHITE - HIGHLY CONFIDENTIAL
             2   on the open market?                                        2      A. I don't even know who that is.
             3       A. They know what they're worth. They know what        3      Q. Okay.
             4   they want. You know, it's not about -- not necessarily     4      A. So he shouldn't be complaining at all.
             5   about what you're worth. It's what you want. If what       5      Q. All right. Why is that? Because you don't
             6   you want I don't agree with what you want, you go out      6   know who he is?
             7   into the open market and you -- you find out if            7      A. I don't even know who he is. If I don't know
             8   somebody else will give it to you.                         8   who you are, holy --
             9       Q. Right. But what -- what someone wants isn't         9          MR. DELL'ANGELO: All right. Can you find
            10   necessarily what they're going to get; right?             10   38, please?
            11       A. Yeah. We just had a recent situation where a       11              (Exhibit 83 marked.)
            12   guy was unhappy with his pay. And -- it was Aljamain      12   BY MR. DELL'ANGELO:
            13   Sterling; so he decided to go through the process and     13      Q. I'm marking and handing to you, Mr. White,
            14   went to free agency. He went out there and shopped        14   what I have marked as Exhibit 82. Would take a look at
            15   around and talked to everybody and wasn't happy with      15   that.
            16   the results. So we ended up doing a deal with him.        16         MR. DELL'ANGELO: Is that Exhibit 83?
            17          And then there's the complete opposite. We         17         MR. KOFFMAN: No. We already have
            18   just had a case with Gegard Mousasi who, you know, we     18   Exhibit 82. 83.
            19   couldn't come to terms, and he was already the highest    19         MR. DELL'ANGELO: I'm sorry.
            20   paid guy, other than the champion in the division. He     20   BY MR. DELL'ANGELO:
            21   went out and shopped around and was very happy with his   21      Q. Mr. White, can I have your copy back? I
            22   situation and ended up going to Bellator.                 22   mismarked it. It should be Exhibit 83. All right.
            23       Q. Okay. Is it correct that a number of               23        Mr. White, I'm handing you what I have
            24   fighters have complained publicly about their UFC         24   remarked as Exhibit 83. Exhibit 83 is a July 1, 2013
            25   fighter compensation?                                     25   e-mail -- sorry, news article from the Las Vegas Sun.

                                                                   394                                                                 396
             1         DANA WHITE - HIGHLY CONFIDENTIAL              1                DANA WHITE - HIGHLY CONFIDENTIAL
             2      A. Yes.                                          2          Take a moment to look at that, Mr. White. Just for the
             3         MR. ISAACSON: Objection to form.              3          record, the by line is Case Keefer. So if you look at
             4   BY MR. DELL'ANGELO:                                 4          the middle of the page, the middle of the second page,
             5      Q. And does that include Cowboy Cerrone, who we 5           there's a bolded section that says, "White responds to
             6   talked about a little earlier today?                6          Tim Kennedy." And the first sentence under there says,
             7      A. Yes.                                          7          "White was set off on the fighter pay rant after a
             8      Q. Okay. And Barrao?                             8          reporter asked about recent comments made by UFC
             9      A. Who?                                          9          middleweight Tim Kennedy." Do you see that?
            10      Q. I don't know if I -- maybe I'm not           10             A. Yes.
            11   pronouncing it correctly. Barrao?                  11             Q. Does that refresh your recollection that Tim
            12      A. Who?                                         12          Kennedy complained about his fighter pay?
            13      Q. Barrao, B-a-r-r-a-o.                         13             A. No. Tim Kennedy -- Kennedy complains about
            14      A. Is it Barrao?                                14          everything; so --
            15      Q. Barrao. Okay.                                15             Q. All right. But you don't recall if he
            16      A. Handom Barrao?                               16          complained about his pay?
            17      Q. Yeah.                                        17             A. That doesn't surprise me. There isn't one
            18      A. I didn't know that.                          18          thing he doesn't complain about.
            19      Q. Okay. How about Demetrius Johnson?           19            Q. And you see you're quoted there saying that,
            20      A. Oh, yeah.                                    20          "He should then go be a garbage man" --
            21      Q. Okay. Tim Kennedy?                           21            A. Yeah.
            22      A. Yeah.                                        22             Q. -- "if he's not happy"?
            23      Q. Okay. Jon Cholish?                           23             A. I think he said that garbagemen make more
            24      A. Who?                                         24          money than -- than UFC fighters do. I said, "Then go
            25      Q. Jon Cholish?                                 25          be a garbageman." Nobody's making you fight.

                                                                                                30 (Pages 393 to 396)
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      Case 2:15-cv-01045-RFB-BNW                  Document 948-122               Filed 12/22/23           Page 23 of 26

                                                                   397                                                            399
             1          DANA WHITE - HIGHLY CONFIDENTIAL                    1          DANA WHITE - HIGHLY CONFIDENTIAL
             2      Q. Right. Is that what you saw as the sort of           2       Q. In the combat sports business?
             3   best alternative for Mr. Kennedy at that time?             3       A. 100 percent.
             4          MR. ISAACSON: Objection. Argumentative.             4       Q. Okay. Are you saying that in no other
             5          THE WITNESS: If -- if that's what you're            5   sport --
             6   claiming, that garbagemen make more than UFC fighters      6       A. No.
             7   do, then -- who -- who's making you fight? Nobody's        7       Q. -- athletes --
             8   making you fight.                                          8       A. I'm saying in fight business.
             9          And the other thing is nobody made you sign a       9       Q. Okay.
            10   UFC contract. You sat down, you had a lawyer, you had     10       A. In the fight business, there's never been a
            11   representation, and when you signed the -- the            11   promotor in the history of people punching each other
            12   contract, you were thrilled.                              12   in the face where the promoter pays the fighter for not
            13          MR. DELL'ANGELO: Move to strike as                 13   fighting.
            14   nonresponsive.                                            14       Q. And when did the UFC start doing that?
            15   BY MR. DELL'ANGELO:                                       15       A. I don't know. But it's been a long time.
            16      Q. All right. It could be -- when a fighter            16       Q. And the -- do you recall when the UFC
            17   gets injured, is the UFC obligated to pay the fighter?    17   instituted the health insurance that you're referring
            18      A. We are the only fight organization in the           18   to?
            19   history of the world that has health insurance for        19       A. No. I -- I don't -- I don't remember when it
            20   fighters.                                                 20   was done, but I know we can find out for you.
            21      Q. Okay. But does the UFC fight -- UFC pay the         21       Q. And -- and isn't it true that the health
            22   fighter for -- well, first of all, that wasn't always     22   insurance only applies to injuries incurred during a
            23   true; right? There was a time when UFC did not have       23   bout?
            24   fighter health insurance?                                 24       A. No. So the health insurance is for them if
            25      A. Go -- go open a yogurt stand and say, Hey, I        25   they get hurt training or, you know, however else in
                                                                   398                                                            400
             1         DANA WHITE - HIGHLY CONFIDENTIAL                     1          DANA WHITE - HIGHLY CONFIDENTIAL
             2   want to -- I want to get health insurance for -- for my    2   life they get hurt. We cover all expenses of them
             3   employees and see how hard it is and how much it costs.    3   getting hurt in a fight.
             4   Now go in there and say, Hey, I have 500 Ultimate          4       Q. In a fight?
             5   Fighters, and I would like to get a policy on these        5       A. Right.
             6   guys. Yeah -- no. We didn't always have it. It             6       Q. Right. But what I'm trying to understand is
             7   was -- it was a long process, a lot of work, and           7   does it cover if the fighter gets injured in training?
             8   obviously a lot of money.                                  8       A. Yeah -- no. No. The health insurance does.
             9      Q. The -- the point is it wasn't always the case        9       Q. Well, that's what I'm -- that's what I'm
            10   that UFC offered health insurance for its fighters;       10   trying just to be clear about. Is it your testimony
            11   right?                                                    11   the health insurance covers a fighter if the fighter
            12      A. Yeah.                                               12   gets injured in training?
            13      Q. Okay. And if a -- if a fighter's injured,           13       A. Correct.
            14   UFC is not required to pay the fighter his fighter        14       Q. Okay. And does the health insurance cover
            15   purse; right?                                             15   the fighter if the fighter gets injured in some
            16      A. No.                                                 16   activity that has nothing to do with mixed martial
            17      Q. Okay. And --                                        17   arts?
            18      A. We're the only guys in the world that do it,        18       A. I believe so.
            19   though.                                                   19       Q. Okay.
            20      Q. You pay the fighter the fighter purse?              20       A. I -- don't quote me on that one. I don't
            21      A. Correct.                                            21   know. But --
            22      Q. Even if they're injured?                            22       Q. Okay. So --
            23      A. Yeah. When they get injured before a fight,         23       A. Listen. We structured the best policy we
            24   yeah. We're the only people on earth throughout           24   could possibly get with an insurance company for
            25   history that actually do it.                              25   500 Ultimate Fighters.

                                                                                               31 (Pages 397 to 400)
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FILED UNDER SEAL
      Case 2:15-cv-01045-RFB-BNW                  Document 948-122                Filed 12/22/23                 Page 24 of 26

                                                                    445                                                                  447
             1          DANA WHITE - HIGHLY CONFIDENTIAL                    1         DANA WHITE - HIGHLY CONFIDENTIAL
             2   intellectual property, and other trademarks and things     2   But I will tell you a story. So we were supposed to do
             3   like that?                                                 3   it --
             4      A. Correct.                                             4      Q. Just so you know --
             5      Q. Okay. Not withstanding the fact that the             5      A. Well, no. You asked me whether we compete or
             6   e-mail indicates that he was asking to make it             6   not.
             7   independent of the UFC and about his training camp?        7       Q. Yeah.
             8      A. Right.                                               8       A. We -- we were doing a deal with NBC. Before
             9      Q. Okay.                                                9   we went to Fox, we were right there. The only thing
            10      A. And it says right here: "His fight manager          10   is, I wanted the Ultimate Fighter on USA Network,
            11   spoke with Dana White directly, who had no problem with   11   right? They said, "We can't do it without asking Vince
            12   the behind-the-scenes production that would not be        12   McMahon for permission." I was like, What? Vince
            13   released without" -- behind the scenes over at his        13   McMahon can tell you what and where? They said, "Vince
            14   camp, not all the stuff including the UFC, which is       14   said no." So me and Lorenzo jumped on a plane and flew
            15   exactly what they were asking for.                        15   out to Vince and said, "Well, Why can't we be on USA
            16     Q. Right. And you -- you were not okay with             16   Network?" And he's like, "Do you know why? Because I
            17   him, however, doing a behind-the-scenes documentary?      17   don't want you on USA Network. That's why." So I
            18     A. Correct.                                             18   guess I would say yes.
            19     Q. Okay. You weren't okay with him doing a              19      Q. You would say yes what?
            20   documentary just about his training camp, were you?       20      A. That we do compete with the WWE. They kicked
            21     A. No.                                           21          us off a -- a network. That's why we ended up with
            22     Q. So you were okay with him doing a documentary 22          Fox.
            23   about his training camp?                           23             Q. And when -- when did -- is that really your
            24     A. Correct.                                      24          testimony? You ended up on Fox because the WE -- the
            25     Q. Okay. You didn't -- you didn't say that in    25          WWE --

                                                                    446                                                                  448
             1          DANA WHITE - HIGHLY CONFIDENTIAL                    1         DANA WHITE - HIGHLY CONFIDENTIAL
             2   here, though; right?                                       2      A. 100 percent. Bring Vince McMahon in here and
             3       A. Yeah. Because that's not what they came to          3   put him under oath.
             4   me with.                                                   4      Q. Okay.
             5       Q. You're saying --                                    5      A. Bring the -- bring the head guy from NBC in
             6       A. This is completely not what -- what they came       6   here and put him under oath.
             7   to me with. If he wanted to do a documentary about his     7      Q. Is it -- I just want to be clear about
             8   training camp and what he's doing, la-da-da, what do I     8   something about your view about competing with the WWE.
             9   care? It doesn't affect me at all.                         9   Are you saying that -- are you now saying that the UFC
            10       Q. Right. Does the UFC compete with -- well,          10   does compete with the WWE?
            11   let me withdraw that.                                     11      A. Did I or did I not just tell that you that
            12          Do you know what the WWE is?                       12   Vince McMahon kicked us off a network?
            13       A. Yes.                                               13      Q. So you interpret that as competing with the
            14       Q. That's the World -- World Wrestling?               14   WWE?
            15       A. Yes.                                               15      A. We had a deal done with NBC. The last thing
            16       Q. Okay. Does UFC compete with WWE?                   16   that was pending was I wanted the Ultimate Fighter on
            17       A. It's -- no. I don't think so.                      17   USA Network, and Vince McMahon said, "You're not going
            18          MR. ISAACSON: Could -- I think you should          18   on USA Network."
            19   define compete with for who? I mean, eyeballs,            19      Q. And when was that?
            20   fighters, you know, et cetera. So -- so I object to       20      A. Right before we did the Fox deal.
            21   form.                                                     21      Q. And when was the Fox deal?
            22   BY MR. DELL'ANGELO:                                       22      A. I don't know. Seven years ago, I guess,
            23       Q. Have --                                            23   right? I mean, we're -- the deal's up right now; so
            24       A. They did when we were on TV. They're -- I          24   it's probably seven years ago.
            25   mean, when they're on TV. They're not on TV anymore.      25      Q. So approximately 2000 --

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      Case 2:15-cv-01045-RFB-BNW                  Document 948-122               Filed 12/22/23           Page 25 of 26

                                                                   449                                                            451
             1          DANA WHITE - HIGHLY CONFIDENTIAL                    1          DANA WHITE - HIGHLY CONFIDENTIAL
             2       A. Whatever.                                           2      Q. Okay. Were they -- you believe they were
             3       Q. Excuse me, 2010?                                    3   true at the time you made them?
             4       A. Yeah, maybe. I don't know. When                     4      A. Yes.
             5   it -- whenever we left Spike and were looking for a new    5      Q. Do you believe that they're still true?
             6   deal, which I think was a seven-year deal with -- with     6      A. No.
             7   Fox, it was supposed to be with NBC.                       7      Q. What -- what part's not true?
             8       Q. And so it was -- it was certainly before            8      A. Well, I just explained to you about him
             9   2014; right?                                               9   kicking us off the -- off NBC --
            10       A. I don't know.                                      10      Q. But that was --
            11       Q. Okay.                                              11      A. -- so we had to leave and go to Fox.
            12       A. But I'm glad you said that, reminded me of         12      Q. But that was in 2000, though; right?
            13   that.                                                     13      A. And since then -- I don't know when it was.
            14       Q. Yeah. He has done a good job of coaching           14   And since then, you know, he's interested in a lot of
            15   you.                                                      15   our people now. You know, Rhonda Rousey was on there.
            16               (Exhibit 95 marked.)                          16   They're definitely interested in Conor McGregor. We
            17          MR. DELL'ANGELO: Let's mark an excerpt as          17   have gone back and forth with Brock Lesnar. So, yeah.
            18   Exhibit 95. This is an excerpt from March 14, 2014        18   I would -- I would say we are in competition.
            19   from the UFC 171 Pre-fight Scrum in Dallas, Texas.        19      Q. Now?
            20             (Video clip playing.)                           20      A. Yes.
            21          REPORTER: Since the launch, people have been       21      Q. But in 2014, your view was that you weren't?
            22   comparing Fight Pass to the WWE network. And, you         22      A. Whatever I was thinking then, I don't know
            23   know, is that a fair comparison? Do you look at it as     23   time. I can't tell you what I was thinking in that
            24   something you should compare with or is that a totally    24   interview. But A lot of things change in business.
            25   different thing?                                          25          MR. DELL'ANGELO: So let me -- I would like

                                                                   450                                                            452
             1          DANA WHITE - HIGHLY CONFIDENTIAL                  1            DANA WHITE - HIGHLY CONFIDENTIAL
             2          MR. DANA WHITE: Is it competition? No. I          2     to mark as Exhibit 96 the video clip from April 16,
             3   mean, there's people that watch WWE, and there's people 3      2014 of -- taken from -- it's an excerpt from
             4   that watch UFC. You know, I don't care what the WWE's 4        April -- sorry, 16, 2014 Tough Nations Finale
             5   doing. It doesn't matter. Good for them; I hope they     5     Post-fight Scrum in Quebec City, Canada.
             6   hit a home run, and it's -- it's very successful for     6                (Exhibit 96 marked.)
             7   them. What we're doing is completely different than      7               (Video clip playing.)
             8   from what they're doing. And, you know, you're always    8            REPORTER: When it comes to Direct TV, like
             9   going to have people who are going to bitch, but Fight   9     4/16/2014 just advertising space, for instance, would
            10   Pass has been a massive home run for us. Huge home      10     more of that now benefit you when it comes to promoting
            11   run.                                                    11     pay-per-views with WWE not being a focal point for
            12          MR. ISAACSON: I object to the use of the         12     Direct TV?
            13   excerpt as a basis for questions on the grounds of      13            MR. DANA WHITE: I -- I don't think whether
            14   completeness.                                           14     WWE is on there or off there it affects us one way or
            15   BY MR. DELL'ANGELO:                                     15     another. I've always said we're two completely
            16       Q. So, Mr. White, were you able to see that         16     different markets. We're, you know -- you know, is
            17   video?                                                  17     there some crossover? Sure. There is in boxing too.
            18       A. Yep.                                             18     But I don't think with Vince being on Direct TV or
            19       Q. Were you able to hear it okay?                   19     being off Direct -- or Direct TV it -- it helps or
            20       A. Yes.                                             20     hurts our business one way or the other.
            21       Q. And you were depicted in that video?             21     BY MR. DELL'ANGELO:
            22       A. Yes.                                             22        Q. Mr. White, is it correct that in --
            23       Q. Okay. Did you make the statements in that        23            MR. ISAACSON: I will object to the use of
            24   video?                                                  24     the video on the grounds of completeness.
            25       A. I did.                                           25     \\

                                                                                               44 (Pages 449 to 452)
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      Case 2:15-cv-01045-RFB-BNW                 Document 948-122               Filed 12/22/23            Page 26 of 26

                                                                   453                                                            455
             1          DANA WHITE - HIGHLY CONFIDENTIAL                   1        DANA WHITE - HIGHLY CONFIDENTIAL
             2   BY MR. DELL'ANGELO:                                       2   Lorenzo White -- or excuse me, Lorenzo Fertitta; right?
             3       Q. Were you able to see the video, Mr. White?         3     A. My husband, yeah.
             4       A. Yes.                                               4      Q. Okay. We're -- we're learning so many new
             5       Q. Okay. It was played as Exhibit 96. And were        5   things about today.
             6   you depicted in that video?                               6      A. Yeah.
             7       A. Yes.                                               7     Q. Okay. When you're referring to Lorenzo,
             8       Q. Okay. Did you make the statements that you         8   you're referring to Lorenzo Fertitta; right?
             9   heard after the question was asked?                       9     A. Yes.
            10       A. Yeah.                                             10      Q. Okay. What is -- and what do you understand
            11       Q. And did you believe those statements to be        11   Mr. Fertitta has said publicly about the percentage of
            12   true at the time they were made?                         12   revenue that the UFC pays to fighters?
            13       A. Yes.                                              13      A. I don't know.
            14       Q. Okay. And I believe you said that you've          14         MR. ISAACSON: Objection. Calls for hearsay.
            15   always said that the UFC and the WWE were two            15         THE WITNESS: You should -- you should ask
            16   completely different markets; correct?                   16   him those questions. I don't know.
            17       A. Right.                                            17   BY MR. DELL'ANGELO:
            18       Q. Okay. And is -- is it your testimony that         18      Q. Do you recall having defended statements that
            19   you believe there's come a time when you -- where that   19   Mr. Fertitta has made about the percentage of revenue
            20   is no longer true?                                       20   that the UFC paid to its fighters?
            21       A. Yeah.                                             21      A. Yeah. But I bet you when I said it, I said,
            22       Q. Okay. And are you saying that was in 2010         22   Hey, Lorenzo pointed this whole thing out. If Lorenzo
            23   when Mr. McMahon wouldn't allow UFC to be on a           23   knows, then I don't know.
            24   particular network?                                      24         It's just when we were talking about that
            25       A. I don't know the exact date of that. But          25   lawsuit, when I clam up and I say, Yeah, you should

                                                                   454                                                            456
             1           DANA WHITE - HIGHLY CONFIDENTIAL                  1          DANA WHITE - HIGHLY CONFIDENTIAL
             2   that happened, and there's been a lot of things that      2   probably talk to the lawyers about that because I don't
             3   have happened between the WWE and UFC since then.         3   know what I'm talking about.
             4       Q. And -- and you understand the clip that            4          MR. DELL'ANGELO: Well, Counsel, I'm going to
             5   I -- I played was from 2014; right?                       5   transition at 7:30; so I'm going to suggest that we
             6       A. Uh-huh.                                            6   transition until tomorrow.
             7       Q. Okay. So that's four years after you're            7          MR. ISAACSON: Where are we at? How much
             8   saying Mr. McMahon --                                     8   time do we have to go?
             9       A. Well, a lot of things have happened between        9          VIDEOGRAPHER: Would you like to go off the
            10   me and Mr. McMahon --                                    10   record now or I can -- I can tell you we were nine
            11       Q. Right.                                            11   minutes short of the mark of making it eight hours.
            12       A. -- and Triple H and --                            12          MR. DELL'ANGELO: Okay. So we have about two
            13       Q. Okay. Mr. White, do you know currently what       13   hours left.
            14   percentage of the UFC's total gross revenues are paid    14          VIDEOGRAPHER: So we have two hours and nine
            15   to fighters?                                             15   minutes.
            16       A. I do not.                                         16          MR. ISAACSON: All right. Let's take a
            17       Q. Okay. Do you know at any time what                17   break.
            18   percentage of the UFC's total gross revenues were paid   18          VIDEOGRAPHER: This concludes Volume I of the
            19   to fighters?                                             19   videotaped deposition of Dana White. The time is
            20       A. I don't. Lorenzo would know that.                 20   approximately 7:25 p.m. We are going off the record.
            21       Q. Lorenzo has spoken about that publicly;           21             (Thereupon, the videotaped deposition
            22   right?                                                   22             concluded at 7:25 p m.)
            23       A. Yes.                                              23
            24       Q. Okay. And what do you understand that -- and      24
            25   when you refer to "Lorenzo," you're referring to         25

                                                                                               45 (Pages 453 to 456)
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